Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 1 of 60 Page ID
                                 #:325297




               EXHIBIT 5
            Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 2 of 60 Page ID
                                             #:325298




                                                                                                    Arrival date:          05-14-08
 MGA Entertainment                                                                                  Departure date:        08-29-08
 16300 Roscoe Boulevard                                                                             No. in party:         0/0
 Van Nuys, CA 91406                                                                                 Room No.:              9001
                                                                                                    Account No.:
                                                                                                     BookingNo.:
                                                                                                    Page No.:                   of 36

                                                                                                     Invoice .:
  INFORMATION INVOICE                                                                                                           08-22-08
                                             •.•   •           •.....
 Date •..      -DescriptiOn .•• •                                                                                     •         Credits
                                                            ••-••.      •




 08-08-08          Comm-Long Distance                  11:25 00:04:00 lost Interface #9500=>MGA               5.35
                                                       Entertainment #9001
 08-08-08          Comm-Long Distance                  11:25 00:01:00 lost Interface #9500=>MGA               0.98
                                                       Entertainment #9001
 08-08-08          Comm-Long Distance                  1 l :25 00:04:00 lost Interface #9500—>MGA             1.67
                                                       Entertainment #9001
 08-08-08          Comm-Long Distance                  11:25 00:02:00 lost Interface #9500—>MGA               1.21
                                                       Entertainment #9001
 08-08-08          Comm-Long Distance                  11:25 00:01:00 lost Interface #9500—>MGA               0.98
                                                       Entertainment #9001
 08-08-08          Comm-Long Distance                  11:25 00:01:00 lost Interface #9500—>MCiA              0.98
                                                       Entertainment #9001
 08-08-08          Comm-Long Distance                  10:55 00:01:00 lost Interface #9500=>MGA               0.98
                                                       Entertainment #9001
 08-08-08          Banquet Invoice                     40290                                                842.82
 08-08-08          Comm-Long Distance                  10:55 00:10:00 lost Interface #9500—>MGA               3,05
                                                       Entertainment #9001
 08-08-08          Room-Group                          1/2 day rate for 8/8/08 Routed From Leahy             49.50
                                                       Margaret Of Room #143
 08-08-08          Occupancy Tax                        Routed From Leahy Margaret Of Room #143               5,45
 08-08-08          Parking-Valet Overnight             Routed From Kennedy Raoul Of Room #158                10.00
 08-08-08          Parking-Valet Overnight             Routed From Uslaner Jonathan Of Room #349             10.00
 08-08-08          Parking-Valet Overnight             Routed From Holden Craig Of Room #225                 10.00
 08-08-08          Parking-Valet Overnight             Routed From Isomoto Becky Of Room #355                10.00
 08-08-08          Parking-Valet Overnight             Routed From Holden Craig Of Room #225                 10,00
 08-08-08          Room-No Show                        Dozier Jason #332=>MGA Entertainment                  99.00
                                                       #9001
 08-08-08          Room-Group                           Routed From Hammon Patrick Of Room #128              99,00
 08-08-08          Occupancy Tax                        Routed From Hammon Patrick Of Room #128              10.89
 08-08-08          Room-Group                           Routed From Lanstra Allen Of Room #146               99.00
 08-08-08          Occupancy Tax                        Routed From Lanstra Allen Of Room #146               10.89
 08-08-08          Room-Group                          Routed From Mumford Marcus Of Room                    99.00
                                                       #150




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                         Exhibit 5 - Page 327
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 3 of 60 Page ID
                                         #:325299




                                                                                    Arrival date:           05-14-08
 MGA Entertainment                                                                  Departure dale:        08-29-08
 16300 Roscoe Boulevard                                                             No. in party:          0/0
 Van Nuys, CA 91406                                                                 Room No.;              9001
                                                                                    Account No.;
                                                                                    BookingNo.:
                                                                                    rage No.:                  2 of 36


                                                                                     Invoice .:

  INFORMATION INVOICE                                                                                            08-22-08

                                           •••• •••

 08-08-08       Occupancy Tax             Routed From Mumford Marcus Of Room                  10.89
                                         #150
 08-08-08       Room-Group                Routed From Kennedy Raoul Of Room #158            189.00
 08-08-08       Occupancy Tax             Routed From Kennedy Raoul Of Room #158             20.79
 08-08-08       Room-Group                Routed From Lopez Alex Of Room #176                99.00
 08-08-08       Occupancy Tax             Routed From Lopez Alex Of Room #176                10.89
 08-08-08       Room-Group                Routed From Roth Carl Of Room #202                189,00
 08-08-08       Occupancy Tax             Routed From Roth Carl Of Room #202                 20.79
 08-08-08       Room-Group                Routed From Holden Craig Of Room 6225             129.00
 08-08-08       Occupancy Tax             Routed From Holden Craig Of Room #225              14.19
 08-08-08       Room-Group                Routed From Turnipseed Alissa Of Room              99.00
                                         #230
 08-08-08       Occupancy Tax             Routed From Turnipsecd Alissa Of Room               10.89
                                         #230
 08-08-08       Room-Group                Routed From Feirman Jordan Of Room #233             99.00
 08-08-08       Occupancy Tax             Routed From Feirman Jordan Of Room #233             10.89
 08-08-08       Room-Group                Routed From Franco Max Of Room #257                 99,00
 08-08-08       Occupancy Tax            Routed From Franco Max Of Room #257
 08-08-08       Parking-Self Overnight   Routed From Franco Max Of Room #257                    5.00
 08-08-08       Room-Group               Routed From Weinsten Ryan Of Room #260              99.00
 08-08-08       Occupancy Tax            Routed From Weinsten Ryan Of Room #260               10.89
 08-08-08       Room-Group               Routed From Aguiar Lauren Of Room #286             189.00
 08-08-08       Occupancy Tax            Routed From Aguiar Lauren Of Room i1286             20.79
 08-08-08       Room-Group               Routed From Shorr Aaron Of Room 6303                9190 . 0890
 08-08-08       Occupancy Tax            Routed From Shorr Aaron Of Room #303
 08-08-08       Room-Group               Routed From Lybrand Steve Of Room #314               99.00
 08-08-08       Occupancy Tax            Routed From Lybrand Steve Of Room #314               10.89
 08-08-08       Room-Group               Routed From Rogosa Diana Of Room #316                99.00
 08-08-08       Occupancy Tax            Routed From Rogosa Diana Of Room #316                10.89
 08-08-08       Room-Group               Routed From Rinker Greg Of Room #317                 99.00
 08-08-08       Occupancy Tax            Routed From Rinker Greg Of Room 1#317                10.89
 08-08-08       Room-Group               Routed From Herrington Rob Of Room #328              99.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                         Exhibit 5 - Page 328
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 4 of 60 Page ID
                                         #:325300




                                                                                       Arrival dale:      05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:         9001
                                                                                       Account No.:
                                                                                        RookingNo,:
                                                                                       Page No.:             3 of 36

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-22-08
 Date        Description                  keference

 08-08-08       Occupancy Tax               Routed From Herrington Rob Of Room #328             10,89
 08-08-08       Room-Group                  Routed From Sloan Matt Of Room #343                 99,00
 08-08-08       Occupancy Tax               Routed From Sloan Matt Of Room #343                 10.89
 08-08-08       Room-Group                  Routed From Harden Susan Of Room #345               99.00
 08-08-08       Occupancy Tax               Routed From Harden Susan Of Room #345               10.89
 08-08-08       Room-Group                  Routed From Uslaner Jonathan Of Room                99.00
                                           #349
 08-08-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                10.89
                                           #349
 08-08-08       Room-Group                  Routed From Isomoto Becky Of Room 11355             99.00
 08-08-08       Occupancy Tax               Routed From Isomoto Becky Of Room 11355             10.89
 08-08-08       Room-Group                  Routed From Hansen David Of Room 4377               99.00
 08-08-08       Occupancy Tax               Routed From Hansen David Of Room #377               10.89
 08-08-08       Room-Group                  Routed From Nolan Tom Of Room #433                 159.00
 08-08-08       Occupancy Tax               Routed From Nolan Tom Of Room #433                  17,49
 08-09-08       Banquet Invoice            40291                                               842.82
 08-09-08       Room Service               Line/1 317 CHECK# 0043339 Rinker Greg                43.77
                                           #317=>MGA Entertainment #9001
 08-09-08       Laundry/Dry Cleaning       Nolan Tom #433—>MGA Entertainment                    27.00
                                           #9001
 08-09-08       Parking-Valet Overnight    Routed From Kennedy Raoul Of Room #158               10.00
 08-09-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
 08-09-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10,00
 08-09-08       Room-Group                  Routed From Gruca Thomas Of Room #112               99.00
 08-09-08       Occupancy Tax              Routed From Gruca Thomas Of Room #112                10.89
 08-09-08       Room-Group                 Routed From Hammon Patrick Of Room #128              99,00
 08-09-08       Occupancy Tax              Routed From Hammon Patrick Of Room #128              10.89
 08-09-08       Room-Group                 Routed From Lanstra Allen Of Room ill 46             99.00
 08-09-08       Occupancy Tax              Routed From Lanstra Allen Of Room #146               10.89
 08-09-08       Room-Group                 Routed From Kennedy Raoul Of Room #158              189.00
 08-09-08       Occupancy Tax              Routed From Kennedy Raoul Of Room #158               20.79
 08-09-08       Room-Group                 Dozier Jason #332—>MGA Entertainment                 99.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                            Exhibit 5 - Page 329
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 5 of 60 Page ID
                                         #:325301




                                                                                     Arrival date:       05-14-08
 MGA Entertainment                                                                   Departure (late:    08-29-08
 16300 Roscoe Boulevard                                                              No. in party:      0 /0
 Van Nuys, CA 91406                                                                  Room No.:           9001
                                                                                     Account No.:
                                                                                      BoolcingNo.:
                                                                                     Page No.:              4 of 36

                                                                                      Invoice .:
  INFORMATION INVOICE                                                                                         08-22-08
 Date        Desciriptitin               Reference                                         Charges            Creclits

                                          #9001
 08-09-08       Occupancy Tax             Dozier Jason #332-->MGA Entertainment                10.89
                                          #9001
 08-09-08       Room-Group                 Routed From Lopcz Alex Of Room #176                99.00
 08-09-08       Occupancy Tax              Routed From Lopcz Alex Of Room #176                10,89
 08-09-08       Room-Group                 Routed From Roth Carl Of Room #202                189.00
 08-09-08       Occupancy Tax             Routed From Roth Carl Of Room #202                  20.79
 08-09-08       Room-Group                 Routed From Turnipseed Alissa Of Room              99.00
                                          #230
 08-09-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room               10.89
                                          #230
 08-09-08       Room-Group                 Routed From Feirman Jordan Of Room #233            99.00
 08-09-08       Occupancy Tax              Routed From Feirman Jordan Of Room #233            10.89
 08-09-08       Room-Group                 Routed From Franco Max Of Room #257                99,00
 08-09-08       Occupancy Tax              Routed From Franco Max Of Room #257                10.89
 08-09-08       Parking-Self Overnight     Routed From Franco Max Of Room #257                 5.00
 08-09-08       Room-Group                 Routed From Weinsten Ryan Of Room #260             99.00
 08-09-08       Occupancy Tax              Routed From Weinsten Ryan Of Room #260             10.89
 08-09-08       Room-Group                Routed From Aguiar Lauren Of Room #286             189.00
 08-09-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286             20,79
 08-09-08       Room-Group                Routed From Short.Aaron Of Room #303                99,00
 08-09-08       Occupancy Tax             Routed From Short-Aaron Of Room #303                10.89
 08-09-08       Room-Group                Routed From Lybrand Steve Of Room #314              99.00
 08-09-08       Occupancy Tax             Routed From Lybrand Steve Of Room #314              10.89
 08-09-08       Room-Group                Routed From Rogosa Diana Of Room #316               99.00
 08-09-08       Occupancy Tax              Routed From Rogosa Diana Of Room #316              10.89
 08-09-08       Room-Group                Routed From Rinker Greg Of Room #317                99,00
 08-09-08       Occupancy Tax             Routed From Rinker Greg Of Room #317                10.89
 08-09-08       Room-Group                Routed From Herrington Rob Of Room #328             99.00
 08-09-08       Occupancy Tax             Routed From Herrington Rob Of Room #328             10.89
 08-09-08       Room-Group                Routed From Sloan Matt Of Room #343                 99,00
 08-09-08       Occupancy Tax             Routed From Sloan Matt Of Room #343                 10.89




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                           Exhibit 5 - Page 330
          Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 6 of 60 Page ID
                                           #:325302




                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party;     0/0
 Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                       Account No.:
                                                                                        BookingNo.:
                                                                                       Page No.:             S of 36

                                                                                        Invoice .:

  INFORMATION INVOICE                                                                                          08-22-08
 Date--      f)esei.ii)tion               Referei)ee.                                        Charges           Credits

 08-09-08       Room-Group                  Routed From Harden Susan Of Room #345               99.00
 08-09-08       Occupancy Tax               Routed From Harden Susan Of Room #345               10.89
 08-09-08       Room-Group                  Routed From Uslaner Jonathan Of Room                99.00
                                           #349
 08-09-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                10.89
                                           #349
 08-09-08       Room-Group                  Routed From Isomoto Becky Of Room #355              99,00
 08-09-08       Occupancy Tax               Routed From Isomoto Becky Of Room #355              10.89
 08-09-08       Room-Group                  Routed From Hansen David Of Room #377               99.00
 08-09-08       Occupancy Tax               Routed From Hansen David Of Room #377               10.89
 08-09-08       Room-Group                  Routed From Nolan Tom Of Room #433                 159.00
 08-09-08       Occupancy Tax               Routed From Nolan Tom Of Room #433                  17.49
 08-10-08       Comm-Local Calls           10:18 00:01:00 lost Interface #9500->MGA              0.75
                                           Entertainment #9001
 08-10-08       Comm-Local Calls           10:18 00:01:00 lost Interface #9500=>MGA              0.75
                                           Entertainment #9001
 08-10-08       Comm-Long Distance         10:18 00:01:00 lost Interface #9500>MGA               0.98
                                           Entertainment #9001
 08-10-08       Comm-Long Distance         10:18 00:01:00 lost Interface #9500=>MGA              0.98
                                           Entertainment #9001
 08-10-08       Comm-Long Distance         10:18 00:07:00 lost Interface #9500-,>M0A             7.86
                                           Entertainment #9001
 08-10-08       Banquet Invoice            40292                                               842.82
 08-10-08       Comm-Long Distance         10:18 00:01:00 lost Interface #9500=>MGA              0.98
                                           Entertainment #9001
 08-10-08       Comm-Long Distance         10:18 00:10:00 lost Interface #9500=>MGA             10.37
                                           Entertainment #9001
 08-10-08       Banquet Invoice            40337                                               678.95
 08-10-08       Room Service               Line,/ 317 : CHECK# 0043412 Rinker Greg              17.97
                                           11317=>MGA Entertainment #9001
 08-10-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
 08-10-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room 176                   10.00
 08-10-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #328              10.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                            Exhibit 5 - Page 331
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 7 of 60 Page ID
                                         #:325303




                                                                                      Arrival date:      05-14-08
 MGA Entertainment                                                                    Departure date:    08-29-08
 16300 Roscoe Boulevard                                                               No. in party:     0/0
 Van Nuys, CA 91406                                                                   Room No.:          9001
                                                                                      Account No.:
                                                                                      BookingNo.:
                                                                                      Page No.:             6 of 36

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                         08-22-08
             :.1)06.4iWitu•                                                                .Chalte            Credits
                                            • •••   •

 08-10-08        Parking-Valet Overnight   Routed From Harden Susan Of Room #345               10.00
 08-10-08        Parking-Valet Overnight   Routed From Nolan Tom Of Room 4435                  10.00
 08-10-08        Parking-Valet Overnight   Routed From Sloan Matt Of Room 4343                 10.00
 08-10-08        Parking-Valet Overnight   Routed From Kennedy Raoul Of Room 4158              10.00
 08-10-08        Room-Group                 Routed From Gruca Thomas Of Room 4112              99.00
 08-10-08        Occupancy Tax              Routed From Gruca Thomas Of Room 4112              10.89
 08-10-08        Room-Group                 Routed From Hammon Patrick Of Room #128            99.00
 08-10-08        Occupancy Tax              Routed From Hammon Patrick Of Room 4128            10.89
 08-10-08        Room-Group                 Routed From Lanstra Allen Of Room 4146             99.00
 08-10-08        Occupancy Tax              Routed From Lanstra Allen Of Room #146             10.89
 08-10-08        Room-Group                 Routed From Kennedy Raoul Of Room #158            189.00
 08-10-08        Occupancy Tax              Routed From Kennedy Raoul Of Room #158             20.79
 08-10-08        Room-Group                 Dozier Jason #332=>MGA Entertainment               99.00
                                           #9001
 08-10-08        Occupancy Tax              Dozier Jason #332=>MGA Entertainment               10.89
                                           #9001
 08-10-08        Room-Group                 Routed From Lopez Alex Of Room 11176               99.00
 08-10-08        Occupancy Tax              Routed From Lopez Alex Of Room #176                10.89
 08-10-08        Room-Group                 Routed From Roth Carl Of Room #202                189.00
 08-10-08        Occupancy Tax              Routed From Roth Carl Of Room #202                 20.79
 08-10-08        Room-Group                 Routed From Turnipseed Alissa Of Room              99.00
                                           #230
 08-10-08        Occupancy Tax              Routed From Turnipsced Alissa Of Room              10.89
                                           #230
 08-10-08        Room-Group                 Routed From Feirman Jordan Of Room #233            99.00
 08-10-08        Occupancy Tax              Routed From Feirman Jordan Of Room #233            10.89
 08-10-08        Room-Group                 Routed From Franco Max Of Room #257                99.00
 08-10-08        Occupancy Tax              Routed From Franco Max Of Room #257                10.89
 08-10-08        Parking-Self Overnight     Routed From Franco Max Of Room #257                 5.00
 08-10-08        Room-Group                 Routed From Weinsten Ryan Of Room #260             99.00
 08-10-08        Occupancy Tax              Routed From Weinsten Ryan Of Room #260             10.89
 08-10-08        Room-Group                 Routed From Aguiar Lauren Of Room 4286            189.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                           Exhibit 5 - Page 332
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 8 of 60 Page ID
                                         #:325304




                                                                                 Arrival date:       05-14-08
 MGA Entertainment                                                               Departure date:     08-29-08
 16300 Roscoe Boulevard                                                          No. in party:      0/0
 Van Nuys, CA 91406                                                              Room No.:           9001
                                                                                 Account No.:
                                                                                  BookingNo.:
                                                                                 Page No.:              7 of 36

                                                                                  Invoice
  INFORMATION INVOICE                                                                                     08-22-08
 Date        Descripl                Reference                                         Charges            Credits

 08-10-08       Occupancy Tax         Routed From Aguiar Lauren Of Room #286                20.79
 08-10-08       Room-Group            Routed From Shorr Aaron Of Room 4303                  99.00
 08-10-08       Occupancy Tax         Routed From Shorr Aaron Of Room #303                  10.89
 08-10-08       Room-Group            Routed From Lybrand Steve Of Room #314                99.00
 08-10-08       Occupancy Tax         Routed From Lybrand Steve Of Room 83 14               10.89
 08-10-08       Room-Group             Routed From Rogosa Diana Of Room #316                99.00
 08-10-08       Occupancy Tax          Routed From Rogosa Diana Of Room #316                10.89
 08-10-08       Room-Group             Routed From Rinker Greg Of Room #317                 99.00
 08-10-08       Occupancy Tax          Routed From Rinker Greg Of Room #317                 10.89
 08-10-08       Room-Group             Routed From Herrington Rob Of Room #328              99.00
 08-10-08       Occupancy Tax          Routed From Herrington Rob Of Room #328              10.89
 08-10-08       Room-Group             Routed From Sloan Matt Of Room #343                  99.00
 08-10-08       Occupancy Tax          Routed From Sloan Mau Of Room #343                   10.89
 08-10-08       Room-Group             Routed From Harden Susan Of Room 4345                99.00
 08-10-08       Occupancy Tax          Routed From Harden Susan Of Room 4345                10.89
 08-10-08       Room-Group             Routed From Hill Donna Of Room #347                  99.00
 08-10-08       Occupancy Tax          Routed From Hill Donna Of Room #347                  10.89
 08-10-08       Room-Group             Routed From Uslaner Jonathan Of Room                 99.00
                                      4349
 08-10-08       Occupancy Tax          Routed From Uslaner Jonathan Of Room                 10.89
                                      4349
 08-10-08       Room-Group             Routed From Isomoto Becky Of Room #355             99.00
 08-10-08       Occupancy Tax          Routed From Isomoto Becky Of Room #355             10.89
 08-10-08       Room-Group             Routed From Hansen David Of Room #377              99.00
 08-10-08       Occupancy Tax          Routed From Hansen David Of Room #377              10,89
 08-10-08       Room-Group             Routed From Nolan Tom Of Room #435                500.00
 08-10-08       Occupancy Tax          Routed From Nolan Tom Of Room #435                 55.00
 08-11-08       Comm-Long Distance    10:07 00:08:00 lost Interface #9500=>MGA               2.59
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:02:00 lost Interface #9500=>MGA               1.21
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:09:00 lost Interface #9500—>MGA               2.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                      Exhibit 5 - Page 333
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 9 of 60 Page ID
                                         #:325305




                                                                                  Arrival date:       05-14-08
 MGA Entertainment                                                                Departure date:     08-29-08
 16300 Roscoe Boulevard                                                           No, in party:      0/0
 Van Nuys, CA 91406                                                               Room No.:           9001
                                                                                  Account No.:
                                                                                   I3ookingNo.:
                                                                                  Page No.:              8 of 36

                                                                                   Invoice .:
  INFORMATION INVOICE                                                                                      08-22-08
 Date        Description             Reference.                                         Charges            Credits

                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:01:00 lost Interface #9500=>MGA              0.98
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:06:00 lost Interface #9500=>MGA              2.13
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:02:00 lost Interface #9500=>MGA              1.21
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:01:00 lost Interface #9500=>MGA              0.98
                                      Entertainment 119001
 08-11-08       Banquet Invoice       40293                                               842.82
 08-11-08       Comm-Long Distance    10:07 00:01:00 lost Interface #9500-->MGA             0.98
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:01:00 lost Interface #9500=>MGA              0.98
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:01:00 lost Interface #9500—>MGA              0.98
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:01:00 lost Interface #9500=>MGA              0.98
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:01:00 lost Interface #9500—>MGA              0.98
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:07:00 lost Interface #9500=>MGA              2.36
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:06:00 lost Interface #9500—>MGA              2.13
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:02:00 lost Interface #9500=>MGA                1.21
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:02:00 lost Interface #9500—>MGA                1.21
                                      Entertainment #9001
 08-11-08       Comm-Long Distance    10:07 00:03:00 lost Interface 119500=>MGA               1.44
                                      Entertainment #900]
 08-11-08       Comm-Long Distance    10:07 00:07:00 lost Interface #9500=>MGA              2.36
                                      Entertainment #9001
 08-11-08       Room Service          Line# 225 : C11 1CK# 0043441 Holden Craig            36.25




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                       Exhibit 5 - Page 334
       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 10 of 60 Page ID
                                         #:325306




                                                                                         Arrival (late:     05-14-08
 MGA Entertainment                                                                       Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                  No. in party:     0/0
 Van Nuys, CA 91406                                                                      Room No.:          9001
                                                                                         Account No.:
                                                                                          BookingNo.:
                                                                                         Page No.:             9 of 36

                                                                                          Invoice ,:
  INFORMATION INVOICE                                                                                            08-22-08
                                          gefer.en.te.                                         Cltrges
                                            #225-->MGA Entertainment #9001
 08-11-08       Banquet Invoice             40338                                                669.42
 08-11-08       Comm-Long Distance          10:07 00:01:00 lost Interface #9500=>MGA               0,98
                                            Entertainment #9001
 08-11-08       Comm-Long Distance          10:07 00:01:00 lost Interface #9500=>MGA               0.98
                                            Entertainment #9001
 08-11-08       Parking-Valet Overnight     McFarland Larry #163—>MGA Entertainment               15.00
                                            #9001
 08-11-08       Parking-Valet Overnight     Routed From Holden Craig Of Room #225                 10.00
 08-11-08       Parking-Valet Overnight     Routed From Sloan Matt Of Room #343                   10.00
 08-11-08       Parking-Valet Overnight     Routed From Isomoto Becky Of Room #355                10.00
 08-11-08       Parking-Valet Overnight     Routed From Roth Carl Of Room #202                    10.00
 08-11-08       Parking-Valet Overnight     Routed From Uslaner Jonathan Of Room 11349            10.00
 08-11-08       Parking-Valet Overnight     Routed From Lopez Alex Of Room #176                   10.00
 08-11-08       Parking-Valet Overnight     Routed From Shorr Aaron Of Room #303                  10.00
 08-11-08       Parking-Valet Overnight     Routed From Harden Susan Of Room #345                 10.00
 08-11-08       Parking-Valet Overnight     Routed From Lanstra Allen Of Room #146                10.00
 08-11-08       Room-Group                   Routed From Gruca Thomas Of Room /1112               99.00
 08-11-08       Occupancy Tax                Routed From Gruca Thomas Of Room 1/112               10.89
 08-11-08       Room-Group                   Routed From Joachimsthaler Erich Of Room             99.00
                                            #115
 08-11-08       Occupancy Tax                Routed From Joachimsthaler Erich Of Room             10.89
                                            #115
 08-11-08       Room-Group                   Routed From Hammon Patrick Of Room 11128             99.00
 08-11-08       Occupancy Tax                Routed From Hammon Patrick Of Room 4128              10.89
 08-11-08       Room-Group                   Routed From Lanstra Allen Of Room #146               99.00
 08-11-08       Occupancy Tax                Routed From Lanstra Allen Of Room #146               10.89
 08-11-08       Room-Group                   Routed From Kennedy Raoul Of Room #158              189.00
 08-11-08       Occupancy Tax                Routed From Kennedy Raoul Of Room #158               20,79
 08-11-08       Room-Group                   McFarland Larry #163=>MGA Entertainment              99.00
                                             #9001
 08-11-08       Occupancy Tax                McFarland Larry I1163—>MGA Entertainment             10.89
                                             #9001




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                              Exhibit 5 - Page 335
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 11 of 60 Page ID
                                          #:325307




                                                                                        Arrival date:      05-14-08
  MGA Entertainment                                                                     Departure date:    08-29-08
  16300 Roscoe Boulevard                                                                No. in party:     0 /0
  Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:             10 of 36

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                           08-22-08
 Date         Description                 :11.eferitice.                                      Charges          Credits

 08-11-08        Room-Group                  Dozier Jason #332=>MGA Entertainment                99.00
                                            #9001
 08-11-08        Occupancy Tax               Dozier Jason #332,->MGA Entertainment               10.89
                                            #9001
 08-11-08        Room-Group                  Routed From Lopez Alex Of Room #176                99.00
 08-11-08        Occupancy Tax               Routed From Lopez Alex Of Room #176                10.89
 08-11-08        Room-Group                  Routed From Roth Carl Of Room #202                189.00
 08-11-08        Occupancy Tax               Routed From Roth Carl Of Room #202                 20.79
 08-11-08        Room-Group                  Routed From Holden Craig Of Room #225             189.00
 08-11-08        Occupancy Tax               Routed From Holden Craig Of Room #225              20.79
 08-11-08        Room-Group                  Routed From Turnipseed Alissa Of Room              99.00
                                            #230
 08-11-08        Occupancy Tax               Routed From Turnipseed Alissa Of Room               10.89
                                            #230
 08-11-08        Room-Group                  Routed From Feirman Jordan Of Room #233            99.00
 08-11-08        Occupancy Tax               Routed From Feirman Jordan Of Room 11233           10.89
 08-11-08        Room-Group                  Routed From Franco Max Of Room #257                99.00
 08-11-08        Occupancy Tax               Routed From Franco Max Of Room #257                10.89
 08-11-08        Parking-Self Overnight      Routed From Franco Max Of Room #257                 5.00
 08-11-08        Room-Group                  Routed From Weinsten Ryan Of Room #260             99.00
 08-11-08        Occupancy Tax               Routed From Weinsten Ryan Of Room #260             10.89
 08-11-08        Room-Group                 Routed From Proof Michael Of Room #280              99.00
 08-11-08        Occupancy Tax               Routed From Proof Michael Of Room #280             10.89
 08-11-08        Parking-Self Overnight     Routed From Proof Michael Of Room #280               8.00
 08-11-08        Room-Group                 Routed From Aguiar Lauren Of Room #286             189.00
 08-11-08        Occupancy Tax              Routed From Aguiar Lauren Of Room #286              20.79
 08-11-08        Room-Group                 Routed From Shorr Aaron Of Room #303                99.00
 08-11-08        Occupancy Tax              Routed From Shorr Aaron Of Room #303                10.89
 08-11-08        Room-Group                 Routed From Lybrand Steve Of Room #314              99.00
 08-11-08        Occupancy Tax              Routed From Lybrand Steve Of Room #314              10.89
 08-11-08        Room-Group                 Routed From Rogosa Diana Of Room #316               99.00
 08-11-08        Occupancy Tax              Routed From Rogosa Diana Of Room #316               10.89




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                             Exhibit 5 - Page 336
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 12 of 60 Page ID
                                          #:325308




                                                                                 Arrival date:      05-14-08
 MGA Entertainment                                                               Departure date:    08-29-08
 16300 Roscoe Boulevard                                                          No. in party:     0/0
 Van Nuys, CA 91406                                                              Room No.:          9001
                                                                                 Account No.:
                                                                                  BookingNo.:
                                                                                 Page No.:             11 of 36

                                                                                  Invoice .:
  INFORMATION INVOICE                                                                                    08-22-08
 Date        Description             Reference:                                       •Charges           CfiRtits

 08-11-08       Room-Group             Routed From Rinker Greg Of Room #317               99.00
 08-11-08       Occupancy Tax          Routed From Rinker Greg Of Room #317               10.89
 08-11-08       Room-Group             Leahy Margaret #320=>MGA Entertainment             99,00
                                      #9001
 08-11-08       Occupancy Tax          Leahy Margaret #320=>MGA Entertainment             10.89
                                      #9001
 08-11-08       Room-Group             Routed From Herrington Rob Of Room #328            99,00
 08-11-08       Occupancy Tax          Routed From Herrington Rob Of Room #328            10.89
 08-11-08       Room-Group             Routed From Sloan Matt Of Room 0343                99.00
 08-11-08       Occupancy Tax          Routed From Sloan Matt Of Room #343                10.89
 08-11-08       Room-Group             Routed From Harden Susan Of Room #345              99.00
 08-11-08       Occupancy Tax          Routed From Harden Susan Of Room #345              10.89
 08-11-08       Room-Group             Routed From Hill Donna Of Room #347                99.00
 08-11-08       Occupancy Tax          Routed From Hill Donna Of Room #347                10.89
 08-11-08       Room-Group             Routed From Uslaner Jonathan Of Room               99.00
                                      #349
 08-11-08       Occupancy Tax          Routed From Uslaner Jonathan Of Room               10.89
                                      #349
 08-11-08       Room-Group             Routed From Isomoto Becky Of Room 055             99.00
 08-11-08       Occupancy Tax          Routed From Isomoto Becky Of Room #355            10.89
 08-11-08       Room-Group             Routed From Hansen David Of Room #377             99.00
 08-11-08       Occupancy Tax          Routed From Hansen David Of Room #377             10.89
 08-11-08       Room-Group             Routed From Nolan Tom Of Room #435               500.00
 08-11-08       Occupancy Tax          Routed From Nolan Tom Of Room #435                55.00
 08-12-08       Comm-Local Calls      11:57 00:01:00 Routed From MGA                      0.75
                                      Entertainment Of Room #5425
 08-12-08       Comm-Local Calls      11:59 00:02:00 Routed From MGA                       0.75
                                      Entertainment Of Room #5425
 08-12-08       Comm-Long Distance    13:08 00:02:00 Routed From MGA                       1.21
                                      Entertainment Of Room #5425
 08-12-08       Comm-Local Calls      13:30 00:01:00 Routed From MGA                       0.75
                                      Entertainment Of Room #5425
 08-12-08       Banquet Invoice       40294                                           1,112.20




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                      Exhibit 5 - Page 337
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 13 of 60 Page ID
                                          #:325309




                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:   08-29.08
 16300 Roscoe Boulevard                                                                No, in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                       Account No.:
                                                                                        BookingNo.:
                                                                                       Page No.:             12 of 36

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-22-08
 Date        Description                  Reference                                          (1141'ge$         Credits

 08-12-08       Comm-Long Distance         15:58 00:09:00 Routed From MGA                        2.82
                                           Entertainment Of Room #5425
 08-12-08       Comm-Long Distance         16:15 00:06:00 Routed From MGA                        2,13
                                           Entertainment Of Room #5425
 08-12-08       Duanes Prime Steaks        Line# 238 : CHECK# 0027671 Larian Isaac             210.00
                                           #238=>MGA Entertainment #9001
 08-12-08       Room Service               Line# 225 : CHECK# 0043490 Holden Craig              30,67
                                           #225—>MGA Entertainment #9001
 08-12-08       Las Campanas               Line# 251: CHECK# 0052492 Middleton                  31.67
                                           Deborah #251:--MGA Entertainment #9001
 08-12-08       Banquet Invoice            DINNER40339                                         880.80
 08-12-08       Parking-Valet Overnight    Routed From Holden Craig Of Room #225                10.00
 08-12-08       Parking-Valet Overnight    Routed From Djiguerian Leon Of Room #272             10.00
 08-12-08       Parking-Valet Overnight    Routed From Sloan Matt Of Room #343                  10.00
 08-12-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #435                   10.00
 08-12-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355               10.00
 08-12-08       Parking-Valet Overnight    Routed From Vilppu Glenn Of Room #123                10.00
 08-12-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
 08-12-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room 11146              10.00
 08-12-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 10.00
 08-12-08       Room-Group                  Routed From Gruca Thomas Of Room #112               99.00
 08-12-08       Occupancy Tax               Routed From Gruca Thomas Of Room #112               10.89
 08-12-08       Room-Group                  Routed From Joachimsthaler Erich Of Room            99.00
                                           #115
 08-12-08       Occupancy Tax               Routed From Joachimsthaler Erich Of Room            10.89
                                           4115
 08-12-08       Room-Group                  Routed From Vilppu Glenn Of Room #123               99.00
 08-12-08       Occupancy Tax               Routed From Vilppu Glenn Of Room #123               10.89
 08-12-08       Room-Group                  Routed From Hammon Patrick Of Room #128             99.00
 08-12-08       Occupancy Tax               Routed From Hammon Patrick Of Room #128             10.89
 08-12-08       Room-Group                  Routed From Lanstra Allen Of Room #146              99.00
 08-12-08       Occupancy Tax               Routed From Lanstra Allen Of Room #146              10.89
 08-12-08       Room-Group                  Routed From Kennedy Raoul Of Room #158             189.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                            Exhibit 5 - Page 338
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 14 of 60 Page ID
                                          #:325310




                                                                                     Arrival date:       05-14-08
 MGA Entertainment                                                                   Departure date:     08-29-08
 16300 Roscoe Boulevard                                                              No. in party:      0I0
 Van Nuys, CA 91406                                                                  Room No.:           9001
                                                                                     Account No.:
                                                                                     BookingNo.:
                                                                                     Page No.:              13 of 36

                                                                                      Invoice
  INFORMATION INVOICE                                                                                         08-22-08
 Date        Description                 Reference .                                       Charges           Credits

 08-12-08       Occupancy Tax              Routed From Kennedy Raoul Of Room 4158               20.79
 08-12-08       Room-Group                 Dozier Jason #332-->MGA Entertainment                99.00
                                          #9001
 08-12-08       Occupancy Tax              Dozier Jason 11332=>MGA Entertainment                10.89
                                          #9001
 08-12-08       Room-Group                 Routed From Lopez Alex Of Room #176                99.00
 08-12-08       Occupancy Tax              Routed From Lopez Alex Of Room #176                10.89
 08-12-08       Room-Group                 Routed From Roth Carl Of Room #202                189.00
 08-12-08       Occupancy Tax              Routed From Roth Carl Of Room #202                 20.79
 08-12-08       Room-Group                 Routed From Holden Craig Of Room #225             189.00
 08-12-08       Occupancy Tax              Routed From Holden Craig Of Room #225              20.79
 08-12-08       Room-Group                 Routed From Turnipsced Alissa Of Room              99.00
                                          #230
 08-12-08       Occupancy Tax              Routed From Turnipsced Alissa Of Room                10.89
                                          #230
 08-12-08       Room-Group                 Routed From Feirman Jordan Of Room #233           99.00
 08-12-08       Occupancy Tax              Routed From Feirman Jordan Of Room #233           10.89
 08-12-08       Room-Group                 Routed From Lillian Isaac Of Room #238           189.00
 08-12-08       Occupancy Tax              Routed From Lariat) Isaac Of Room #238            20,79
 08-12-08       Room-Group                 Routed From Middleton Deborah Of Room             99.00
                                          #251
 08-12-08       Occupancy Tax              Routed From Middleton Deborah Of Room              10.89
                                          #251
 08-12-08       Parking-Self Overnight     Routed From Middleton Deborah Of Room                5.00
                                          #251
 08-12-08       Room-Group                 Routed From Franco Max Of Room #257                99.00
 08-12-08       Occupancy Tax              Routed From Franco Max Of Room #257                10.89
 08-12-08       Parking-Self Overnight     Routed From Franco Max Of Room 11257                5.00
 08-12-08       Room-Group                Routed From Weinsten Ryan Of Room #260              99.00
 08-12-08       Occupancy Tax             Routed From Weinsten Ryan Of Room #260              10.89
 08-12-08       Room-Group                Routed From Djiguerian Leon Of Room #272            99.00
 08-12-08       Occupancy Tax             Routed From Djiguerian Leon Of Room #272            10.89
 08-12-08       Room-Group                Routed From Proof Michael Of Room #280              99.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                          Exhibit 5 - Page 339
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 15 of 60 Page ID
                                          #:325311




                                                                                      Arrival date:         05-14-08
 MGA Entertainment                                                                    Departure date;      08-29-08
 16300 Roscoe Boulevard                                                               No. in party:        0/0
 Van Nuys, CA 91406                                                                   Room No.:            9001
                                                                                      Account No.:
                                                                                       BoolcingNo.:
                                                                                      Page No.:                14 of 36

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                            08-22-08
 DatC        Dekription.                 Reference. -                                       Charges    :        Credits..

 08-12-08       Occupancy Tax              Routed From Proof Michael Of Room #280              10.89
 08-12-08       Parking-Self Overnight     Routed From Proof Michael Of Room #280               8.00
 08-12-08       Room-Group                 Routed From Aguiar Lauren Of Room #286             189.00
 08-12-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286              20.79
 08-12-08       Room-Group                 Routed From Shoff Aaron Of Room #303                99.00
 08-12-08       Occupancy Tax              Routed From Shen Aaron Of Room #303                 10.89
 08-12-08       Room-Group                 Routed From Lybrand Steve Of Room #314              99.00
 08-12-08       Occupancy Tax              Routed From Lybrand Steve Of Room 11314             10.89
 08-12-08       Room-Group                 Routed From Rogosa Diana Of Room #316               99.00
 08-12-08       Occupancy Tax              Routed From Rogosa Diana Of Room #316               10.89
 08-12-08       Room-Group                 Routed From Rinker Greg Of Room #317                99.00
 08-12-08       Occupancy Tax              Routed From Rinker Greg Of Room #317                10.89
 08-12-08       Room-Group                 Routed From Herrington Rob Of Room 11328            99.00
 08-12-08       Occupancy Tax              Routed From Herrington Rob Of Room #328             10.89
 08-12-08       Room-Group                 Routed From Sloan Matt Of Room #343                 99.00
 08-12-08       Occupancy Tax              Routed From Sloan Matt Of Room #343                 10.89
 08-12-08       Room-Group                 Routed From Harden Susan Of Room #345               99.00
 08-12-08       Occupancy Tax              Routed From Harden Susan Of Room #345               10.89
 08-12-08       Room-Group                 Routed From Hill Donna Of Room #347                 99.00
 08-12-08       Occupancy Tax              Routed From Hill Donna Of Room #347                 10,89
 08-12-08       Room-Group                 Routed From Uslaner Jonathan Of Room                99.00
                                          #349
 08-12-08       Occupancy Tax              Routed From Uslaner Jonathan Of Room                10.89
                                          #349
 08-12-08       Room-Group                 Routed From Isomoto Becky Of Room #355              99.00
 08-12-08       Occupancy Tax              Routed From Isomoto Becky Of Room #355              10.89
 08-12-08       Room-Group                 Routed From Hansen David Of Room #377               99.00
 08-12-08       Occupancy Tax              Routed From Hansen David Of Room #377               10.89
 08-12-08       Room-Group                Routed From Nolan Tom Of Room #435                 500.00
 08-12-08       Occupancy Tax              Routed From Nolan Tom Of Room #435                 55.00
 08-13-08       Comm-Long Distance        08:29 00:01:00 Routed From MGA                       0.98
                                          Entertainment Of Room #5425




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                           Exhibit 5 - Page 340
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 16 of 60 Page ID
                                          #:325312




                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure dale:   08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:         9001
                                                                                       Account No.:
                                                                                       I3ookingNo.:
                                                                                       Page No.:             15 of 36

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-22-08
 Date        Description                  Reference                                         Charges           Credits:

 08-13-08       Mission Inn Restaurant     Line 238 : CHECK# 0011485 Larian Isaac               37.05
                                           #238=>MGA Entertainment 49001
 08-13-08       Comm-Long Distance         09:16 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 08-13-08       Comm-Long Distance         09:42 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 08-13-08       Comm-Long Distance         12:51 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 08-13-08       Banquet Invoice            40295                                              842.82
 08-13-08       Comm-Long Distance         14:58 00:04:00 Routed From MGA                       1.67
                                           Entertainment Of Room #5425
 08-13-08       Comm-Long Distance         15:01 00:03:00 Routed From MGA                        1.44
                                           Entertainment Of Room #5425
 08-13-08       In Room Snack              Line/ 225 ; CHECK# 000009 0009 Routed                 5.00
                                           From Holden Craig Of Room #225
 08-13-08       Comm-Long Distance         15:39 00:01:00 Routed From MGA                        2.84
                                           Entertainment Of Room #5425
 08-13-08       Banquet Invoice            dinner40340                                        961.54
 08-13-08       Room Service               Line# 225 CHECK# 0043563 Bolden Craig               15.18
                                           #225—>MGA Entertainment #9001
 08-13-08       Room Service               Line# 238 : CHECK# 0043564 Larian Isaac              40.28
                                           #238—>MGA Entertainment #9001
 08-13-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355               10.00
 08-13-08       Parking-Valet Overnight    Routed From Wong Renee Of Room #130                  10.00
 08-13-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #435                   10.00
 08-13-08       Parking-Valet Overnight    Routed From Sloan Matt Of Room #343                  10,00
 08-13-08       Parking-Valet Overnight    Routed From Holden Craig Of Room #225                10.00
 08-13-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345                10.00
 08-13-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                   10.00
 08-13-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349            10.00
 08-13-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room #146               10.00
 08-13-08       Room-Group                 Routed From Gruca Thomas Of Room #112                99.00
 08-13-08       Occupancy Tax              Routed From Gruca Thomas Of Room #112                10.89




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                            Exhibit 5 - Page 341
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 17 of 60 Page ID
                                          #:325313




                                                                                Arrival date:      05-14-08
 MGA Entertainment                                                              Departure date:    08-29-08
 16300 Roscoe Boulevard                                                         No. in party:     0/0
 Van Nuys, CA 91406                                                             Room No.:          9001
                                                                                Account No.:
                                                                                BookingNo.:
                                                                                Page No.:             16 of 36

                                                                                 Invoice .:
  INFORMATION INVOICE                                                                                   08-22-08
 Date        Description           Reference                                          Charges           Credits

 08-13-08       Room-Group           Routed From Joachimsthaler Erich Of Room            99.00
                                    #115
 08-13-08       Occupancy Tax        Routed From Joachimsthaler Erich Of Room            10.89
                                    #115
 08-13-08       Room-Group           Dozier Jason #332=>MGA Entertainment                99.00
                                    #9001
 08-13-08       Occupancy Tax        Dozier Jason #332—>MGA Entertainment                10.89
                                    #9001
 08-13-08       Room-Group           Routed From Hammon Patrick Of Room #128            99.00
 08-13-08       Occupancy Tax        Routed From Hammon Patrick Of Room #128            10.89
 08-13-08       Room-Group           Routed From Wong Renee Of Room #130                99.00
 08-13-08       Occupancy Tax        Routed From Wong Renee Of Room #130                10.89
 08-13-08       Room-Group           Routed From Jain Decpak Of Room #139               99.00
 08-13-08       Occupancy Tax        Routed From Jain Deepak Of Room #139               10.89
 08-13-08       Room-Group           Routed From Lanstra Alien Of Room #146             99.00
 08-13-08       Occupancy Tax        Routed From Lanstra Allen Of Room #146             10.89
 08-13-08       Room-Group           Routed From Meyer Paul Of Room #151                99.00
 08-13-08       Occupancy Tax        Routed From Meyer Paul Of Room #151                10.89
 08-13-08       Room-Group           Routed From Kennedy Raoul Of Room #158            189.00
 08-13-08       Occupancy Tax        Routed From Kennedy Raoul Of Room #158             20.79
 08-13-08       Room-Group           Routed From Lopez Alex Of Room #176                99.00
 08-13-08       Occupancy Tax        Routed From Lopez Alex Of Room #176                10.89
 08-13-08       Room-Group           Routed From Roth Carl Of Room #202                189.00
 08-13-08       Occupancy Tax        Routed From Roth Carl Of Room #202                 20.79
 08-13-08       Room-Group           Routed From Holden Craig Of Room 11225            189.00
 08-13-08       Occupancy Tax        Routed From Holden Craig Of Room #225              20.79
 08-13-08       Room-Group           Routed From Turnipseed Alissa Of Room              99,00
                                    #230
 08-13-08       Occupancy Tax        Routed From Turnipseed Alissa Of Room               10.89
                                    #230
 08-13-08       Room-Group           Routed From Feirman Jordan Of Room 1/233           99.00
 08-13-08       Occupancy Tax        Routed From Feirman Jordan Of Room //233           10.89
 08-13-08       Room-Group           Routed From Larkin Isaac Of Room #238             189.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                     Exhibit 5 - Page 342
       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 18 of 60 Page ID
                                         #:325314




                                                                                     Arrival date:       05-14-08
 MGA Entertainment                                                                   Departure date:     08-29-08
 16300 Roscoe Boulevard                                                              No. in party:      0/0
 Van Nuys, CA 91406                                                                  Room No.:           9001
                                                                                     Account No.:
                                                                                      BookingNo.:
                                                                                     Page No.:              17 of 36

                                                                                      Invoice .:
  INFORMATION INVOICE                                                                                         08-22-08
 Date .      Description                 ReferenCe                                         01.4rges:.         Credits

 08-13-08       Occupancy Tax             Routed From Larian Isaac Of Room #238               20.79
 08-13-08       Room-Group                Routed From Franco Max Of Room 4257                 99.00
 08-13-08       Occupancy Tax             Routed From Franco Max Of Room #257                 10.89
 08-13-08       Parking-Self Overnight    Routed From Franco Max Of Room #257                  5.00
 08-13-08       Room-Group                Routed From Weinsten Ryan Of Room #260              99.00
 08-13-08       Occupancy Tax             Routed From Weinsten Ryan Of Room #260              10.89
 08-13-08       Room-Group                Routed From Proof Michael Of Room #280              99.00
 08-13-08       Occupancy Tax              Routed From Proof Michael Of Room #280             10.89
 08-13-08       Parking-Self Overnight     Routed From Proof Michael Of Room #280              8.00
 08-13-08       Room-Group                 Routed From Aguiar Lauren Of Room 4286            189.00
 08-13-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286             20.79
 08-13-08       Room-Group                 Routed From Shorr Aaron Of Room 4303               99.00
 08-13-08       Occupancy Tax              Routed From Shorr Aaron Of Room #303               10.89
 08-13-08       Room-Group                 Routed From Lybrand Steve Of Room #314             99.00
 08-13-08       Occupancy Tax              Routed From Lybrand Steve Of Room #314             10,89
 08-13-08       Room-Group                 Routed From Rogosa Diana Of Room #316              99.00
 08-13-08       Occupancy Tax              Routed From Rogosa Diana Of Room #316              10.89
 08-13-08       Room-Group                 Routed From Rinker Greg Of Room #317               99.00
 08-13-08       Occupancy Tax              Routed From Rinker Greg Of Room #317               10.89
 08-13-08       Room-Group                 Routed From Herrington Rob Of Room #328            99.00
 08-13-08       Occupancy Tax              Routed From Herrington Rob Of Room #328            10.89
 08-13-08       Room-Group                 Routed From Sloan Matt Of Room #343                99,00
 08-13-08       Occupancy Tax              Routed From Sloan Matt Of Room #343                10.89
 08-13-08       Room-Group                 Routed From Harden Susan Of Room #345              99.00
 08-13-08       Occupancy Tax              Routed From Harden Susan Of Room #345              10.89
 08-13-08       Room-Group                 Routed From Hill Donna Of Room #347                99.00
 08-13-08       Occupancy Tax              Routed From Hill Donna Of Room #347                10.89
 08-13-08       Room-Group                 Routed From Uslaner Jonathan Of Room               99.00
                                          #349
 08-13-08       Occupancy Tax              Routed From Uslaner Jonathan Of Room               10.89
                                          #349
 08-13-08       Room-Group                 Routed From Isomoto Becky Of Room #355             99.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                          Exhibit 5 - Page 343
          Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 19 of 60 Page ID
                                            #:325315




                                                                                      Arrival date:      05-14-08
 MGA Entertainment                                                                    Departure date:   08-29-08
 16300 Roscoe Boulevard                                                               No. in party:     0/0
 Van Nuys, CA 91406                                                                   Room No.:         9001
                                                                                      Account No.:
                                                                                       BookingNo.:
                                                                                      Page No.:             18 of 36

                                                                                       Invoice .:
  INFORMATION INVOICE                                                                                         08-22-08
 pate.'                                   Reference                                        Charges            Credits

 08-13-08       Occupancy Tax               Routed From Isomoto Becky Of Room #355            10.89
 08-13-08       Room-Group                  Routed From Hansen David Of Room #377             99.00
 08-13-08       Occupancy Tax               Routed From Hansen David Of Room 11377            10.89
 08-13-08       Room-Group                  Routed From Nolan Tom Of Room 1/435              500.00
 08-13-08       Occupancy Tax               Routed From Nolan Tom Of Room 1/435               55.00
 08-14-08       Comm-Long Distance         08:49 00:01:00 Routed From MGA                      0.98
                                           Entertainment Of Room #5425
 08-14-08       Comm-Long Distance         08:54 00:01:00 Routed From MGA                       0.98
                                           Entertainment Of Room #5425
 08-14-08       Comm-Long Distance         08:55 00:01:00 Routed From MGA                       0.98
                                           Entertainment Of Room #5425
 08-14-08       Comm-Long Distance         09:45 00:02:00 Routed From MGA                       1.21
                                           Entertainment Of Room #5425
 08-14-08       Comm-Long Distance         09:54 00:04:00 Routed From MGA                       1.67
                                           Entertainment Of Room #5425
 08-14-08       Banquet Invoice            40296                                             842.82
 08-14-08       I3clla Trattoria           Line# 238 : CFIECK# 0165484 Larian Isaac           38.00
                                           #238,-->MGA Entertainment #9001
 08-14-08       Comm-Long Distance         18:50 00:06:00 Routed From MGA                       2.13
                                           Entertainment Of Room #5425
 08-14-08       Kelly's Spa                Line# 238 : CHECK# 56264 Routed From              320.00
                                           Larian Isaac Of Room #238
 08-14-08       Kelly's Spa                Line# 238 : CHECK# 56264 Routed From                30.00
                                           Larian Isaac Of Room #238
 08-14-08       Banquet Invoice            40341                                             698.03
 08-14-08       Comm-Long Distance         21:42 00:03:00 Routed From MGA                      1.44
                                           Entertainment Of Room #5425
 08-14-08       Comm-Long Distance         22:47 00:01:00 Routed From MGA                       0.98
                                           Entertainment Of Room #5425
 08-14-08       Parking-Valet Overnight    Routed From Nolan Tom Of Room #435                  10.00
 08-14-08       Parking-Valet Overnight    Routed From Sloan Matt Of Room #343                 10.00
 08-14-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room #146              10.00
 08-14-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room 11146             10.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                           Exhibit 5 - Page 344
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 20 of 60 Page ID
                                          #:325316




                                                                                       Arrival dale;      05-14-08
 MGA Entertainment                                                                     Departure date:   08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:         9001
                                                                                       Account No.:
                                                                                       BookingNo.:
                                                                                       Page No.:             19 of 36

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-22-08
                                           .
 Date               ...........
                                          Reference.                                         Charges          Credits
 08-14-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349           10.00
 08-14-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345               10.00
 08-14-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room 8328             10.00
 08-14-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                10.00
 08-14-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                  10.00
 08-14-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room 11176                10.00
 08-14-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355              10.00
 08-14-08       Parking-Valet Overnight    Routed From Wong Renee Of Room #130                 10.00
 08-14-08       Room-Group                  Routed From Gruca Thomas Of Room #112              99.00
 08-14-08       Occupancy Tax               Routed From Gruca Thomas Of Room #112              10.89
 08-14-08       Room-Group                  Routed From Dozier Jason Of Room #122              99.00
 08-14-08       Occupancy Tax               Routed From Dozier Jason Of Room #122              10.89
 08-14-08       Room-Group                  Routed From Hammon Patrick Of Room #128            99.00
 08-14-08       Occupancy Tax               Routed From Hammon Patrick Of Room #128            10,89
 08-14-08       Room-Group                  Routed From Wong Renee Of Room 11130               99,00
 08-14-08       Occupancy Tax               Routed From Wong Renee Of Room 11130               10.89
 08-14-08       Room-Group                  Routed From Jain Deepak Of Room #139               99.00
 08-14-08       Occupancy Tax               Routed From Jain Deepak Of Room #139               10.89
 08-14-08       Room-Group                  Routed From Lanstra Allen Of Room #146             99.00
 08-14-08       Occupancy Tax               Routed From Lanstra Allen Of Room #146             10.89
 08-14-08       Room-Group                  Routed From Meyer Paul Of Room #151                99,00
 08-14-08       Occupancy Tax               Routed From Meyer Paul Of Room 11151               10.89
 08-14-08       Room-Group                  Routed From Kennedy Raoul Of Room #158            189.00
 08-14-08       Occupancy Tax               Routed From Kennedy Raoul Of Room #158             20.79
 08-14-08       Room-Group                  Routed From Lopez Alex Of Room #176                99.00
 08-14-08       Occupancy Tax               Routed From Lopez Alex Of Room #176                10.89
 08-14-08       Room-Group                  Routed From Roth Carl Of Room #202                189.00
 08-14-08       Occupancy Tax               Routed From Roth Carl Of Room #202                 20.79
 08-14-08       Room-Group                  Routed From Holden Craig Of Room #225             189.00
 08-14-08       Occupancy Tax               Routed From Holden Craig Of Room #225              20.79
 08-14-08       Room-Group                  Routed From Turnipsced Alissa Of Room              99.00
                                           #230




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                            Exhibit 5 - Page 345
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 21 of 60 Page ID
                                          #:325317




                                                                                     Arrival date:     05-14-08
 MGA Entertainment                                                                   Departure date:   08-29-08
 16300 Roscoe Boulevard                                                              No. in party:      / {}
 Van Nuys, CA 91406                                                                  Room No.:         9001
                                                                                     Account No.:
                                                                                     BookingNo.:
                                                                                     Page No.:            20 of 36

                                                                                      Invoice .:
  INFORMATION INVOICE                                                                                       08-22-08
 Date        Description                 Reference                                         Charges          Credits   .:




 08-14-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room              10.89
                                          4230
 08-14-08       Room-Group                 Routed From Feirman Jordan Of Room #233            99.00
 08-14-08       Occupancy Tax              Routed From Feirman Jordan Of Room #233            10.89
 08-14-08       Room-Group                 Routed From Larian Isaac Of Room #238             189.00
 08-14-08       Occupancy Tax              Routed From Larian Isaac Of Room #238              20.79
 08-14-08       Room-Group                 Routed From Franco Max Of Room 4257                99.00
 08-14-08       Occupancy Tax              Routed From Franco Max Of Room 4257                10.89
 08-14-08       Parking-Self Overnight     Routed From Franco Max Of Room 4257                 5.00
 08-14-08       Room-Group                 Routed From Weinsten Ryan Of Room #260             99.00
 08-14-08       Occupancy Tax              Routed From Weinsten Ryan Of Room 4260             10.89
 08-14-08       Room-Group                 Routed From Aguiar Lauren Of Room #286            189.00
 08-14-08       Occupancy Tax              Routed From Aguiar Lauren Of Room 4286             20.79
 08-14-08       Room-Group                 Routed From Short.Aaron Of Room 4303               99.00
 08-14-08       Occupancy Tax              Routed From Shorr Aaron Of Room 4303               10.89
 08-14-08       Room-Group                 Routed From Lybrand Steve Of Room 4314             99.00
 08-14-08       Occupancy Tax              Routed From Lybrand Steve Of Room 4314             10.89
 08-14-08       Room-Group                 Routed From Rogosa Diana Of Room #316              99.00
 08-14-08       Occupancy Tax              Routed From Rogosa Diana Of Room 4316              10.89
 08-14-08       Room-Group                 Routed From Rinker Greg Of Room #317               99.00
 08-14-08       Occupancy Tax              Routed From Rinker Greg Of Room 4317               10.89
 08-14-08       Room-Group                 Routed From Herrington Rob Of Room 4328            99.00
 08-14-08       Occupancy Tax              Routed From Herrington Rob Of Room 4328            10.89
 08-14-08       Room-Group                 Routed From Proof Michael Of Room 4340             99.00
 08-14-08       Occupancy Tax              Routed From Proof Michael Of Room #340             10.89
 08-14-08       Parking-Self Overnight     Routed From Proof Michael Of Room 4340              8.00
 08-14-08       Room-Group                 Routed From Sloan Matt Of Room #343                99.00
 08-14-08       Occupancy Tax              Routed From Sloan Matt Of Room #343                10.89
 08-14-08       Room-Group                Routed From Harden Susan Of Room #345               99.00
 08-14-08       Occupancy Tax             Routed From Harden Susan Of Room #345               10.89
 08-14-08       Room-Group                Routed From Uslaner Jonathan Of Room                99.00
                                          #349




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                          Exhibit 5 - Page 346
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 22 of 60 Page ID
                                          #:325318




                                                                                       Arrival dale;      05-14-08
 MGA Entertainment                                                                     Departure date:   08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:         9001
                                                                                       Account No.:
                                                                                       BookingNo.:
                                                                                       Page No.:             21 of 36

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-22-08
 Date        Description                  :Reterence-:                                       Charges          Credits

 08-14-08       Occupancy Tax                Routed From Uslaner Jonathan Of Room               10.89
                                            #349
 08-14-08       Room-Group                   Routed From lsomoto Becky Of Room #355             99.00
 08-14-08       Occupancy Tax                Routed From Isomoto Becky Of Room #355             10.89
 08-14-08       Room-Group                   Routed From Nolan Tom Of Room #435                500.00
 08-14-08       Occupancy Tax                Routed From Nolan Tom Of Room /1435                55.00
 08-15-08       Parking-Valet Overnight     Routed From Holden Craig Of Room #225               15.00
 08-15-08       Banquet Invoice             40297                                              842.82
 08-15-08       Comm-Long Distance          15:02 00:01:00 Routed From MGA                       0.98
                                            Entertainment Of Room #5425
 08-15-08       Room-Early Departure        Routed From Larian Isaac Of Room #238               50.00
 08-15-08       Comm-Long Distance          20:14 00:01:00 Routed From MGA                       0.98
                                            Entertainment Of Room #5425
 08-15-08       Parking-Valet Overnight     Routed From Harden Susan Of Room 11345              10.00
 08-15-08       Parking-Valet Overnight     Routed From Lopez Alex Of Room #176                 10.00
 08-15-08       Parking-Valet Overnight     Routed From Weinsten Ryan Of Room #260              10.00
 08-15-08       Parking-Valet Overnight     Routed From Holden Craig Of Room 11225              10.00
 08-15-08       Parking-Valet Overnight     Routed From Isomoto Becky Of Room 055               10.00
 08-15-08       Parking-Valet Overnight     Routed From Herrington Rob Of Room 11328            10.00
 08-15-08       Parking-Valet Overnight     Routed From Lanstra Allen Of Room #146              10.00
 08-15-08       Parking-Valet Overnight     Routed From Shor• Aaron Of Room #303                10.00
 08-15-08       Parking-Valet Overnight     Routed From Isomoto Becky Of Room #355              10.00
 08-15-08       Parking-Valet Overnight     Routed From Nolan Tom & Maryanne Of                 10.00
                                            Room #435
 08-15-08       Parking-Valet Overnight     Routed From Lanstra Allen Of Room #146              10.00
 08-15-08       Parking-Valet Overnight     Routed From Holden Craig Of Room #225               10.00
 08-15-08       Room-Group                  Routed From Gruca Thomas Of Room #112               99.00
 08-15-08       Occupancy Tax               Routed From Gruca Thomas Of Room #112               10.89
 08-15-08       Room-Group                  Routed From Hammon Patrick Of Room #128             99.00
 08-15-08       Occupancy Tax               Routed From Hammon Patrick Of Room #128             10,89
 08-15-08       Room-Group                  Routed From Lanstra Allen Of Room #146              99.00
 08-15-08       Occupancy 'Fax              Routed From Lanstra Allen Of Room #146              10.89




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                            Exhibit 5 - Page 347
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 23 of 60 Page ID
                                          #:325319




                                                                                     Arrival date:        05-14-08
 MGA Entertainment                                                                   Departure date:     08-29-08
 16300 Roscoe Boulevard                                                              No. in party:       0/0
 Van Nuys, CA 91406                                                                  Room No.:            9001
                                                                                     Account No.:
                                                                                      BookingNo.:
                                                                                     Page No.:               22 of 36

                                                                                      Invoice .:
  INFORMATION INVOICE                                                                                          08-22-08
                                                                                          .          ,
 Date        Description                 Reference                                            Charges          Crediti

 08-15-08       Room-Group                Routed From Kennedy Raoul Of Room #158               189.00
 08-15-08       Occupancy Tax             Routed From Kennedy Raoul Of Room #158                20.79
 08-15-08       Room-Group                Routed From Lopez Alex Of Room #176                   99.00
 08-15-08       Occupancy Tax             Routed From Lopez Alex Of Room #176                   10.89
 08-15-08       Room-Group                Routed From Roth Carl Of Room #202                   189.00
 08-15-08       Occupancy Tax             Routed From Roth Carl Of Room #202                    20.79
 08-15-08       Room-Group                Routed From Holden Craig Of Room #225                189.00
 08-15-08       Occupancy Tax             Routed From Holden Craig Of Room #225                 20.79
 08-15-08       Room-Group                 Routed From Turnipsecd Alissa Of Room                99.00
                                          0230
 08-15-08       Occupancy Tax             Routed From Turnipseed Alissa Of Room                 10.89
                                          #230
 08-15-08       Room-Group                 Routed From Feirman Jordan Of Room #233               99.00
 08-15-08       Occupancy Tax              Routed From Feirman Jordan Of Room #233               10.89
 08-15-08       Room-Group                 Routed From Dozier Jason Of Room 1/246                99.00
 08-15-08       Occupancy Tax              Routed From Dozier Jason Of Room #246                 10.89
 08-15-08       Room-Group                 Routed From Franco Max Of Room #257                   99.00
 08-15-08       Occupancy Tax              Routed From Franco Max Of Room #257                   10.89
 08-15-08       Parking-Self Overnight     Routed From Franco Max Of Room #257                    5.00
 08-15-08       Room-Group                 Routed From Weinsten Ryan Of Room #260                99.00
 08-15-08       Occupancy Tax              Routed From Weinsten Ryan Of Room #260                10.89
 08-15-08       Room-Group                 Routed From Aguiar Lauren Of Room #286               189.00
 08-15-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286                20.79
 08-15-08       Room-Group                 Routed From Shorr Aaron Of Room #303                  99.00
 08-15-08       Occupancy Tax              Routed From Shorr Aaron Of Room #303                  10.89
 08-15-08       Room-Group                 Routed From Lybrand Steve Of Room #314                99.00
 08-15-08       Occupancy Tax              Routed From Lybrand Steve Of Room #314                10.89
 08-15-08       Room-Group                 Routed From Rogosa Diana Of Room #316                 99.00
 08-15-08       Occupancy Tax              Routed From Rogosa Diana Of Room #316                 10.89
 08-15-08       Room-Group                 Routed From Rinker Greg Of Room #317                  99.00
 08-15-08       Occupancy Tax              Routed From Rinker Greg Of Room #317                  10.89
 08-15-08       Room-Group                 Routed From Herrington Rob Of Room #328               99.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                             Exhibit 5 - Page 348
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 24 of 60 Page ID
                                          #:325320




                                                                                          Arrival date:      05-14-08
 MGA Entertainment                                                                        Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                   No. in party:     0/0
 Van Nuys, CA 91406                                                                       Room No.:          9001
                                                                                          Account No.:
                                                                                          I3ookingNo.:
                                                                                          Page No.:             23 of 36

                                                                                           Invoice .:
  INFORMATION INVOICE                                                                                              08-22-08
 Date        Description                  -• • .:• • •• inee.....•••••                                            Credits

 08-15-08       Occupancy Tax                   Routed From Herrington Rob Of Room #328            10.89
 08-15-08       Room-Group                      Routed From Proof Michael Of Room #340             99.00
 08-15-08       Occupancy Tax                   Routed From Proof Michael Of Room #340             10.89
 08-15-08       Parking-Self Overnight          Routed From Proof Michael Of Room fi340             8.00
 08-15-08       Room-Group                      Routed From Sloan Matt Of Room #343                99.00
 08-15-08       Occupancy Tax                   Routed From Sloan Matt Of Room #343                10.89
 08-15-08       Room-Group                      Routed From Harden Susan Of Room #345              99.00
 08-15-08       Occupancy Tax                   Routed From Harden Susan Of Room #345              10.89
 08-15-08       Room-Group                      Routed From Uslaner Jonathan Of Room               99.00
                                               #349
 08-15-08       Occupancy Tax                   Routed From Uslaner Jonathan Of Room               10.89
                                               #349
 08-15-08       Room-Group                      Routed From Isomoto Becky Of Room #355             99.00
 08-15-08       Occupancy Tax                   Routed From Isomoto Becky Of Room #355             10.89
 08-15-08       Room-Group                      Routed From Nolan Tom & Maryanne Of               500.00
                                               Room fi435
 08-15-08       Occupancy Tax                   Routed From Nolan Tom & Maryanne Of                55.00
                                               Room #435
 08-16-08       In Room Movies                 Line 225 : Movies Routed From Holden                15.99
                                               Craig Of Room #225
 08-16-08       Banquet Invoice                40298                                              842.82
 08-16-08       Parking-Valet Overnight        Routed From Shorr Aaron Of Room 11303               10.00
 08-16-08       Room-Group                      Routed From Hammon Patrick Of Room #128            99.00
 08-16-08       Occupancy Tax                   Routed From Hammon Patrick Of Room #128            10.89
 08-16-08       Room-Group                      Routed From Lanstra Allen Of Room #146             99.00
 08-16-08       Occupancy Tax                   Routed From Lanstra Allen Of Room #146             10.89
 08-16-08       Room-Group                      Routed From Kennedy Raoul Of Room fi158           189.00
 08-16-08       Occupancy Tax                   Routed From Kennedy Raoul Of Room #158             20,79
 08-16-08       Room-Group                     Routed From Lopez Alex Of Room #176                 99,00
 08-16-08       Occupancy Tax                  Routed From Lopez Alex Of Room #176                 10.89
 08-16-08       Room-Group                     Routed From Roth Carl Of Room #202                 189.00
 08-16-08       Occupancy Tax                  Routed From Roth Carl Of Room #202                  20.79




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                               Exhibit 5 - Page 349
         Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 25 of 60 Page ID
                                           #:325321




                                                                                      Arrival date:       05-14-08
  MGA Entertainment                                                                   Departure date:     08-29-08
  16300 Roscoe Boulevard                                                              No. in party:      U /0
  Van Nuys, CA 91406                                                                  Room No.:           9001
                                                                                      Account No.:
                                                                                      BookingNo.:
                                                                                      Page No.:              24 of 36

                                                                                       Invoice
  INFORMATION INVOICE                                                                                          08-22-08
 1)ate        Description                 Reference                                        Charges            Credits

 08-16-08        Room-Group                Routed From Turnipseed Alissa Of Room                 99.00
                                           #230
 08-16-08        Occupancy Tax             Routed From Turnipseed Alissa Of Room                 10.89
                                           #230
 08-16-08        Room-Group                Routed From Feirman Jordan Of Room /1233            99.00
 08-16-08        Occupancy Tax             Routed From Feirman Jordan Of Room #233             10.89
 08-16-08        Room-Group                Routed From Dozier Jason Of Room #246               99.00
 08-16-08        Occupancy Tax             Routed From Dozier Jason Of Room #246               10.89
 08-16-08        Room-Group                Routed From Franco Max Of Room #257                 99.00
 08-16-08        Occupancy Tax             Routed From Franco Max Of Room #257                 10.89
 08-16-08        Parking-Self Overnight    Routed From Franco Max Of Room #257                  5.00
 08-16-08        Room-Group                Routed From Weinsten Ryan Of Room 1/260             99.00
 08-16-08        Occupancy Tax             Routed From Weinsten Ryan Of Room #260              10.89
 08-16-08        Room-Group                Routed From Aguiar Lauren Of Room 11286            189.00
 08-16-08        Occupancy Tax             Routed From Aguiar Lauren Of Room #286              20.79
 08-16-08        Room-Group                Routed From Shorr Aaron Of Room #303                99.00
 08-16-08        Occupancy Tax             Routed From Shorr Aaron Of Room #303                  10.89
 08-16-08        Room-Group                Routed From Lybrand Steve Of Room /1314             99.00
 08-16-08        Occupancy Tax             Routed From Lybrand Steve Of Room /1314             10.89
 08-16-08        Room-Group                Routed From Rogosa Diana Of Room #316               99.00
 08-16-08        Occupancy Tax             Routed From Rogosa Diana Of Room 4316
 08-16-08        Room-Group                Routed From Rinker Greg Of Room 4317               99.00
 08-16-08        Occupancy Tax             Routed From Rinker Greg Of Room #317               10.89
 08-16-08        Room-Group                Routed From Herrington Rob Of Room #328            99.00
 08-16-08        Occupancy Tax             Routed From Herrington Rob Of Room #328            10.89
 08-16-08        Room-Group                Routed From Proof Michael Of Room #340             99.00
 08-16-08        Occupancy Tax             Routed From Proof Michael Of Room #340             10.89
 08-16-08        Room-Group                Routed From Sloan Matt Of Room #343                99.00
 08-16-08        Occupancy Tax             Routed From Sloan Matt Of Room #343                10.89
 08-16-08        Room-Group                Routed From Harden Susan Of Room #345              99.00
 08-16-08        Occupancy Tax             Routed From Harden Susan Of Room #345              10.89
 08-16-08        Room-Group                Routed From Uslaner Jonathan Of Room               99.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                           Exhibit 5 - Page 350
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 26 of 60 Page ID
                                          #:325322




                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                       Account No.:
                                                                                       BookingNo.:
                                                                                       Page No.:             25 of 36

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-22-08
 Date        Description                  RcifeieileC                                        Charges          Credits

                                           #349
 08-16-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                10.89
                                           #349
 08-16-08       Room-Group                  Routed From Isomoto Becky Of Room #355              99.00
 08-16-08       Occupancy Tax               Routed From Isomoto Becky Of Room #355              10.89
 08-16-08       Room-Group                  Routed From Nolan Tom & Maryanne Of                500.00
                                           Room 4435
 08-16-08       Occupancy Tax               Routed From Nolan Torn & Maryanne Of                55.00
                                           Room 4435
 08-17-08       Banquet Invoice            40299                                              842.82
 08-17-08       Banquet Invoice            40459                                              200.00
 08-17-08       Banquet Invoice            40404                                              683.73
 08-17-08       Parking-Valet Overnight    Routed From Nolan Tom & Maryanne Of                 10,0(1
                                           Room #435
 08-17-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room #146              10.00
 08-17-08       Parking-Valet Overnight    Routed From lsomoto Becky Of Room #355              10.00
 08-17-08       Parking-Valet Overnight    Routed From Sloan Matt Of Room #343                 10.00
 08-17-08       Parking-Valet Overnight    Routed From Uslaner Jonathan Of Room #349           10.00
 08-17-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                  10.00
 08-17-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345               10.00
 08-17-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                10.00
 08-17-08       Room-Group                 Routed From Hammon Patrick Of Room #128             99.00
 08-17-08       Occupancy Tax              Routed From Hammon Patrick Of Room #128             10.89
 08-17-08       Room-Group                 Routed From Lanstra Allen Of Room #146              99.00
 08-17-08       Occupancy Tax              Routed From Lanstra Allen Of Room #146              10.89
 08-17-08       Room-Group                 Routed From Kennedy Raoul Of Room #158             189.00
 08-17-08       Occupancy Tax              Routed From Kennedy Raoul Of Room #158              20.79
 08-17-08       Room-Group                 Routed From Lopez Alex Of Room 11176                99.00
 08-17-08       Occupancy Tax              Routed From Lopez Alex Of Room #176                 10.89
 08-17-08       Room-Group                 Routed From Roth Carl Of Room #202                 189.00
 08-17-08       Occupancy Tax              Routed From Roth Carl Of Room #202                  20.79
 08-17-08       Room-Group                 Routed From Turnipseed Alissa Of Room               99.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                            Exhibit 5 - Page 351
         Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 27 of 60 Page ID
                                           #:325323




                                                                                    Arrival date:       05-14-08
 MGA Entertainment                                                                  Departure date:     08-29-08
 16300 Roscoe Boulevard                                                             No. in party;      0/0
 Van Nuys, CA 91406                                                                 Room No.:           9001
                                                                                    Account No.:
                                                                                    BookingNo.:
                                                                                    Page No.:              26 of 36

                                                                                     Invoice .:
  INFORMATION INVOICE                                                                                        08-22-08
 Date.       D6criptioia                                                                  Chtir Yes,         Ci•eilits
                                                                                                                   •



                                         11230
 08-17-08       Occupancy Tax             Routed From Turnipseed Alissa Of Room              10.89
                                         #230
 08-17-08       Room-Group                Routed From Feirman Jordan Of Room #233            99.00
 08-17-08       Occupancy Tax             Routed From Feirman Jordan Of Room #233            10.89
 08-17-08       Room-Group                Routed From Dozier Jason Of Room 4246              99.00
 08-17-08       Occupancy Tax             Routed From Dozier Jason Of Room /1246             10.89
 08-17-08       Room-Group                Routed From Franco Max Of Room 4257                99.00
 08-17-08       Occupancy Tax             Routed From Franco Max Of Room 1/257               10,89
 08-17-08       Parking-Self Overnight    Routed From Franco Max Of Room 11257                5.00
 08-17-08       Room-Group                Routed From Weinsten Ryan Of Room 4260             99.00
 08-17-08       Occupancy Tax             Routed From Weinsten Ryan Of Room 4260             10.89
 08-17-08       Room-Group                Routed From Aguiar Lauren Of Room 4286            189.00
 08-17-08       Occupancy Tax             Routed From Aguiar Lauren Of Room 11286            20.79
 08-17-08       Room-Group                Routed From Shorr Aaron Of Room 8303               99.00
 08-17-08       Occupancy Tax             Routed From Shorr Aaron Of Room 4303               10.89
 08-17-08       Room-Group                Routed From Lybrand Steve Of Room 4314             99.00
 08-17-08       Occupancy Tax             Routed From Lybrand Steve Of Room 4314             10.89
 08-17-08       Room-Group                Routed From Rogosa Diana Of Room 4316              99.00
 08-17-08       Occupancy Tax             Routed From Rogosa Diana Of Room 4316              10.89
 08-17-08       Room-Group                Routed From Rinker Greg Of Room 4317               99.00
 08-17-08       Occupancy Tax             Routed From Rinker Greg Of Room #317               10.89
 08-17-08       Room-Group                Routed From Herrington Rob Of Room 4328            99.00
 08-17-08       Occupancy Tax             Routed From Herrington Rob Of Room 4328            10.89
 08-17-08       Room-Group                Routed From Proof Michael Of Room 4340             99.00
 08-17-08       Occupancy Tax             Routed From Proof Michael Of Room 4340             10.89
 08-17-08       Room-Group                Routed From Sloan Matt Of Room 4343                99.00
 08-17-08       Occupancy Tax             Routed From Sloan Matt Of Room 1/343               10.89
 08-17-08       Room-Group                Routed From Harden Susan Of Room //345             99.00
 08-17-08       Occupancy Tax             Routed From Harden Susan Of Room 4345              10.89
 08-17-08       Room-Group                Routed From Uslaner Jonathan Of Room               99.00
                                         4349




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                         Exhibit 5 - Page 352
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 28 of 60 Page ID
                                          #:325324




                                                                                       Arrival date:      05-14-08
 MGA Entertainment                                                                     Departure date:    08-29-08
 16300 Roscoe Boulevard                                                                No. in party:     0/0
 Van Nuys, CA 91406                                                                    Room No.:          9001
                                                                                       Account No.:
                                                                                       BoakingNo.:
                                                                                       Page No.;             27 of 36

                                                                                        Invoice .:
  INFORMATION INVOICE                                                                                          08-22-08
                                               , -
 Date        Description                  Reference                                         Charges            Credits

 08-17-08       Occupancy Tax               Routed From Uslaner Jonathan Of Room                10.89
                                           #349
 08-17-08       Room-Group                  Routed From Isomoto Becky Of Room #355             99.00
 08-17-08       Occupancy Tax               Routed From Isomoto Becky Of Room #355             10.89
 08-17-08       Room-Group                  Routed From Nolan Tom & Maryanne Of               500.00
                                           Room #435
 08-17-08       Occupancy Tax               Routed From Nolan Tom & Maryanne Of                 55.00
                                           Room #435
 08-18-08       American Express           XXXXXXXXXXX6006                  XX/XX                            60,000.00
 08-18-08       Comm-Long Distance         11:15 00:04:00 Routed From MGA                        1.67
                                           Entertainment Of Room #5425
 08-18-08       Comm-Long Distance         11:33 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 08-18-08       Banquet Invoice            40300                                               842.82
 08-18-08       Comm-Long Distance         14;32 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 08-18-08       Comm-Long Distance         17;00 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 08-18-08       Cumin-Long Distance        17:01 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 08-18-08       Comm-Long Distance         17:14 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 08-18-08       Comm-Long Distance         17:48 00:01:00 Routed From MGA                        0.98
                                           Entertainment Of Room #5425
 08-18-08       Banquet Invoice                                                                669.00
 08-18-08       Banquet Invoice                                                               -669.00
 08-18-08       Banquet Invoice            40405                                               669.42
 08-18-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #176                  10.00
 08-18-08       Parking-Valet Overnight    Routed From Shorr Aaron Of Room #303                 10.00
 08-18-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room #328              10.00
 08-18-08       Parking-Valet Overnight    Routed From Lanstra Allen Of Room #146               10.00
 08-18-08       Parking-Valet Overnight    Routed From Roth Carl Of Room #202                   10.00
 08-18-08       Parking-Valet Overnight    Routed From Uslancr Jonathan Of Room #349            10.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                            Exhibit 5 - Page 353
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 29 of 60 Page ID
                                          #:325325




                                                                                     Arrival dale:       05-14-08
 MGA Entertainment                                                                   Departure date:    08-29-08
 16300 Roscoe Boulevard                                                              No. in party:      0/0
 Van Nuys, CA 91406                                                                  Room No.:          9001
                                                                                     Account No.:
                                                                                      BookingNo.:
                                                                                     Page No.:              28 of 36

                                                                                      Invoice
  INFORMATION INVOICE                                                                                         08-22-08
 Date        Description                  Reference                                        Charges            Credits

 08-18-08       Parking-Valet Overnight    Routed From Sloan Matt Of Room #343                10.00
 08-18-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room #355             10.00
 08-18-08       Parking-Valet Overnight    Routed From Harden Susan Of Room #345              10.00
 08-18-08       Room-Group                 Routed From Hammon Patrick Of Room #128            99.00
 08-18-08       Occupancy Tax              Routed From Hammon Patrick Of Room #128            10.89
 08-18-08       Room-Group                 Routed From Lanstra Allen Of Room #146             99.00
 08-18-08       Occupancy Tax              Routed From Lanstra Allen Of Room #146             10.89
 08-18-08       Room-Group                 Routed From Kennedy Raoul Of Room #158            189.00
 08-18-08       Occupancy Tax              Routed From Kennedy Raoul Of Room #158             20.79
 08-18-08       Room-Group                 Routed From Lopez Alex Of Room #176                99.00
 08-18-08       Occupancy Tax              Routed From Lopez Alex Of Room #176                10.89
 08-18-08       Room-Group                 Routed From Roth Carl Of Room 11202               189.00
 08-18-08       Occupancy Tax               Routed From Roth Carl Of Room #202                20.79
 08-18-08       Room-Group                 Routed From Turnipseed Alissa Of Room              99.00
                                           #230
 08-18-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room                10.89
                                           #230
 08-18-08       Room-Group                 Routed From Feirman Jordan Of Room #233            99.00
 08-18-08       Occupancy Tax              Routed From Feirman Jordan Of Room #233            10.89
 08-18-08       Room-Group                 Routed From Franco Max Of Room #257                99.00
 08-18-08       Occupancy Tax              Routed From Franco Max Of Room #257                10.89
 08-18-08       Parking-Self Overnight     Routed From Franco Max Of Room #257                 5.00
 08-18-08       Room-Group                 Routed From Weinsicn Ryan Of Room #260             99.00
 08-18-08       Occupancy Tax              Routed From Weinsten Ryan Of Room #260             10.89
 08-18-08       Room-Group                 Routed From Aguiar Lauren Of Room #286            189.00
 08-18-08       Occupancy Tax              Routed From Aguiar Lauren Of Room #286             20.79
 08-18-08       Room-Group                 Routed From Shorr Aaron Of Room #303               99.00
 08-18-08       Occupancy Tax              Routed From Shorr Aaron Of Room #303                 10.89
 08-18-08       Room-Group                 Routed From Lybrand Steve Of Room #314               99.00
 08-18-08       Occupancy Tax              Routed From Lybrand Steve Of Room #314               10.89
 08-18-08       Room-Group                 Routed From Rogosa Diana Of Room #316                99.00
 08-18-08       Occupancy Tax              Routed From Rogosa Diana Of Room #316                10.89




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                          Exhibit 5 - Page 354
            Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 30 of 60 Page ID
                                              #:325326




                                                                                   Arrival date:       05-14-08
 MGA Entertainment                                                                 Departure date:     08-29-08
 16300 Roscoe Boulevard                                                            No. in party:      0/0
 Van Nuys, CA 91406                                                                Room No.:           9001
                                                                                   Account No.:
                                                                                   BookingNo.:
                                                                                   Page No.:              29 of 36

                                                                                    Invoice .:
  INFORMATION INVOICE                                                                                       08-22-08
 Date           Description            Reference                                         Charges            Credits

 08 18 08
   -    -          Room Group
                        -                Routed From Rinker Greg Of Room 4317               99.00
 08-18-08          Occupancy Tax         Routed From Rinker Greg Of Room 43 I 7             10.89
 08-18-08          Room-Group            Routed From Dozier Jason Of Room 4327              99.00
 08-18-08          Occupancy Tax         Routed From Dozier Jason Of Room 4327              10.89
 08-18-08          Room-Group            Routed From Herrington Rob Of Room #328            99.00
 08-18-08          Occupancy Tax         Routed From Herrington Rob Of Room #328            10.89
 08-18-08          Room-Group            Routed From Proof Michael Of Room #340             99.00
 08-18-08          Occupancy Tax         Routed From Proof Michael Of Room #340             10.89
 08-18-08          Room-Group            Routed From Sloan Matt Of Room 4343                99.00
 08-18-08          Occupancy Tax         Routed From Sloan Man Of Room #343                 10.89
 08-18-08          Room-Group            Routed From Harden Susan Of Room #345              99.00
 08-18-08          Occupancy Tax         Routed From Harden Susan Of Room #345              10.89
 08-18-08          Room-Group            Routed From Uslaner Jonathan Of Room               99.00
                                        #349
 08-18-08          Occupancy Tax         Routed From Uslaner Jonathan Of Room               10.89
                                        #349
 08-18-08          Room-Group            Routed From isomoto Becky Of Room #355             99.00
 08-18-08          Occupancy Tax         Routed From Isomoto Becky Of Room #355             10.89
 08-18-08          Room-Group            Routed From Nolan Tom & Maryanne Of               500.00
                                        Room 4435
 08-18-08         Occupancy Tax          Routed From Nolan Tom & Maryanne Of                55.00
                                        Room 4435
 08-19-08         Comm-Long Distance    10:13 00:01:00 Routed From MGA                       0.98
                                        Entertainment Of Room #5425
 08-19-08         Comm-Long Distance    11:40 00:02:00 Routed From MGA                         1.21
                                        Entertainment Of Room #5425
 08-19-08         Comm-Long Distance    11:44 00:01:00 Routed From MGA                       0.98
                                        Entertainment Of Room #5425
 08-19-08         Comm-Long Distance    12:47 00:04:00 Routed From MGA                       1.67
                                        Entertainment Of Room #5425
 08-19-08         Banquet Invoice       CB40393                                            842.82
 08-19-08         Comm-Long Distance    22:01 00:02:00 Routed From MGA                       1.21
                                        Entertainment Of Room 45425




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                        Exhibit 5 - Page 355
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 31 of 60 Page ID
                                          #:325327




                                                                                        Arrival date:       05-14-08
 MGA Entertainment                                                                      Departure (late:    08-29-08
 16300 Roscoe Boulevard                                                                 No. in party:      0/0
 Van Nuys, CA 91406                                                                     Room No.:           9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:              30 of 36

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                            08-22-08
 Date        Description                  'Reference                                          ChLieges           Credits

 08-19-08       Comm-Long Distance          22:28 00:08:00 Routed From MGA                         8.70
                                            Entertainment Of Room #5425
 08-19-08       Comm-Long Distance          00:49 00:02:00 Routed From MGA                         1.21
                                            Entertainment Of Room #5425
 08-19-08       Parking-Valet Overnight     Routed From Short Aaron Of Room #303                 10,00
 08-19-08       Parking-Valet Overnight     Routed From Herrington Rob Of Room #328              10.00
 08-19-08       Parking-Valet Overnight     Routed From Sloan Matt Of Room #343                  10.00
 08-19-08       Parking-Valet Overnight     Routed From Uslaner Jonathan Of Room #349            10.00
 08-19-08       Parking-Valet Overnight     Routed From Lanstra Allen Of Room #146               10.00
 08-19-08       Parking-Valet Overnight     Routed From Weinsten Ryan Of Room #260               10.00
 08-19-08       Parking-Valet Overnight     Routed From Roth Carl Of Room #202                   10.00
 08-19-08       Parking-Valet Overnight     Routed From Harden Susan Of Room #345                10.00
 08-19-08       Banquet Invoice             40406                                               640.81
 08-19-08       Room-No Show                Larian Isaac 11238=>MGA Entertainment               189.00
                                            #9001
 08-19-08       Room-Group                   Routed From Hammon Patrick Of Room #128             99.00
 08-19-08       Occupancy Tax                Routed From Hammon Patrick Of Room /1128            10.89
 08-19-08       Room-Group                   Routed From Lanstra Allen Of Room #146              99.00
 08-19-08       Occupancy Tax                Routed From Lanstra Allen Of Room 11146             10.89
 08-19-08       Room-Group                   Routed From Kennedy Raoul Of Room #158             189.00
 08-19-08       Occupancy Tax                Routed From Kennedy Raoul Of Room #158              20.79
 08-19-08       Room-Group                   Routed From Lopez Alex Of Room #176                 99.00
 08-19-08       Occupancy Tax                Routed From Lopez Alex Of Room #176                 10.89
 08-19-08       Room-Group                   Routed From Roth Carl Of Room #202                 189.00
 08-19-08       Occupancy Tax                Routed From Roth Carl Of Room #202                  20.79
 08-19-08       Room-Group                   Routed From Holden Craig Of Room #227              189.00
 08-19-08       Occupancy Tax                Routed From Holden Craig Of Room #227               20.79
 08-19-08       Room-Group                   Routed From Turnipseed Alissa Of Room               99.00
                                            #230
 08-19-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room                10.89
                                            #230
 08-19-08       Room-Group                  Routed From Feirman Jordan Of Room #233              99.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                              Exhibit 5 - Page 356
       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 32 of 60 Page ID
                                         #:325328




                                                                                     Arrival date:      05-14-08
 MGA Entertainment                                                                   Departure date:   08-29-08
 16300 Roscoe Boulevard                                                              No. in party:     0/0
 Van Nuys, CA 91406                                                                  Room No.:         9001
                                                                                     Account No.:
                                                                                     BookingNo.:
                                                                                     Page No.:             31 of 36

                                                                                      Invoice .:
  INFORMATION INVOICE                                                                                        08-22-08
             Description                                                                   Charges          Credits

 08-19-08       Occupancy Tax             Routed From Feirman Jordan Of Room #233             10.89
 08-19-08       Room-Group                Routed From Franco Max Of Room #257                 99.00
 08-19-08       Occupancy Tax             Routed From Franco Max Of Room #257                 10.89
 08-19-08       Parking-Self Overnight    Routed From Franco Max Of Room #257                  5.00
 08-19-08       Room-Group                Routed From Weinsten Ryan Of Room #260              99.00
 08-19-08       Occupancy Tax             Routed From Weinsten Ryan Of Room #260              10.89
 08-19-08       Room-Group                Routed From Aguiar Lauren Of Room #286             189.00
 08-19-08       Occupancy Tax             Routed From Aguiar Lauren Of Room #286              20.79
 08-19-08       Room-Group                Routed From Shorr Aaron Of Room #303                99.00
 08-19-08       Occupancy Tax             Routed From Shorr Aaron Of Room #303                10.89
 08-19-08       Room-Group                Routed From Lybrand Steve Of Room #314              99.00
 08-19-08       Occupancy Tax             Routed From Lybrand Sieve Of Room #314              10.89
 08-19-08       Room-Group                Routed From Rogosa Diana Of Room #316               99.00
 08-19-08       Occupancy Tax             Routed From Rogosa Diana Of Room #316               10.89
 08-19-08       Room-Group                Routed From Rinker Greg Of Room fi317               99.00
 08-19-08       Occupancy Tax             Routed From Rinker Greg Of Room #317                10.89
 08-19-08       Room-Group                Routed From Dozier Jason Of Room 4327               99.00
 08-19-08       Occupancy Tax             Routed From Dozier Jason Of Room #327               10.89
 08-19-08       Room-Group                Routed From Herrington Rob Of Room #328             99.00
 08-19-08       Occupancy Tax             Routed From Herrington Rob Of Room 11328            10.89
 08-19-08       Room-Group                Routed From Proof Michael Of Room #340              99.00
 08-19-08       Occupancy Tax             Routed From Proof Michael Of Room #340              10.89
 08-19-08       Room-Group                Routed From Sloan Matt Of Room #343                 99.00
 08-19-08       Occupancy Tax             Routed From Sloan Matt Of Room #343                 10.89
 08-19-08       Room-Group                Routed From Harden Susan Of Room #345               99.00
 08-19-08       Occupancy Tax             Routed From Harden Susan Of Room #345               10.89
 08-19-08       Room-Group                Routed From Uslaner Jonathan Of Room                99.00
                                         #349
 08-19-08       Occupancy Tax             Routed From Uslancr Jonathan Of Room                10.89
                                         #349
 08-19-08       Room-Group                Routed From Isomoto Becky Of Room #355              99.00
 08-19-08       Occupancy Tax             Routed From Isomoto Becky Of Room #355              10.89




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                          Exhibit 5 - Page 357
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 33 of 60 Page ID
                                          #:325329




                                                                                        Arrival (late:     05-14-08
 MGA Entertainment                                                                      Departure date:   08-29-08
 16300 Roscoe Boulevard                                                                 No. in party:     0/0
 Van Nuys, CA 91406                                                                     Room No.:          9001
                                                                                        Account No.:
                                                                                        BookingNo.:
                                                                                        Page No.:             32 of 36

                                                                                         Invoice .:
  INFORMATION INVOICE                                                                                           08-22-08
 Date        D escrip fion                Reference

 08-19-08       Room-Group                  Routed From Nolan Tom & Maryanne Of                 500.00
                                           Room 11435
 08-19-08       Occupancy Tax               Routed From Nolan Toni & Maryanne Of                 55.00
                                           Room 11435
 08-20-08       Comm-Long Distance         11:16 00:01:00 Routed From MGA.                        0.98
                                           Entertainment Of Room 115425
 08-20-08       Banquet Invoice            40394                                                842.82
 08-20-08       In Room Service            Line# 227 : CHECK# 000009 0009 Routed                  9.50
                                           From Holden Craig Of Room 11227
 08-20-08       Parking-Valet Overnight    Routed From Lopez Alex Of Room #176                   10,00
 08-20-08       Parking-Valet Overnight    Routed From Herrington Rob Of Room 11328              10.00
 08-20-08       Parking-Valet Overnight    Routed From Isomoto Becky Of Room 11355               10.00
 08-20-08       Parking-Valet Overnight    Routed From Uslancr Jonathan Of Room 1/349            10.00
 08-20-08       Parking-Valet Overnight    Routed From Holden Craig Of Room #227                 10.00
 08-20-08       Room-Group                  Routed From Hammon Patrick Of Room #128              99.00
 08-20-08       Occupancy Tax               Routed From Hammon Patrick Of Room 11128             10.89
 08-20-08       Room-Group                  Routed From Lanstra Allen Of Room #146               99.00
 08-20-08       Occupancy Tax               Routed From Lanstra Allen Of Room #146               10.89
 08-20-08       Room-Group                  Routed From Kennedy Raoul Of Room 11158             189.00
 08-20-08       Occupancy Tax               Routed From Kennedy Raoul Of Room 1/158              20.79
 08-20-08       Room-Group                  Routed From Lopez Alex Of Room 11176                 99.00
 08-20-08       Occupancy Tax               Routed From Lopez Alex Of Room /1176                 10.89
 08-20-08       Room-Group                  Routed From Roth Carl Of Room #202                  189.00
 08-20-08       Occupancy Tax               Routed From Roth Carl Of Room #202                   20.79
 08-20-08       Room-Group                  Routed From Holden Craig Of Room #227               189.00
 08-20-08       Occupancy Tax               Routed From Holden Craig Of Room #227                20.79
 08-20-08       Room-Group                  Routed From Turnipseed Alissa Of Room                99.00
                                           #230
 08-20-08       Occupancy Tax               Routed From Turnipseed Alissa Of Room                10.89
                                           /1230
 08-20-08       Room-Group                  Routed From Feirman Jordan Of Room /1233             99.00
 08-20-08       Occupancy Tax               Routed From Feirman Jordan Of Room #233              10.89
 08-20-08       Room-Group                  Routed From Franco Max Of Room #257                  99.00




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                             Exhibit 5 - Page 358
       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 34 of 60 Page ID
                                         #:325330




                                                                                     Arrival date:      05-14-08
 MCA Entertainment                                                                   Departure dale:   08-29-08
 16300 Roscoe Boulevard                                                              No. in party:     0/0
 Van Nuys, CA 91406                                                                  Room No.:         9001
                                                                                     Account No.:
                                                                                      BookingNo.:
                                                                                     Page No.:             33 of 36

                                                                                      Invoice .:
  INFORMATION INVOICE                                                                                        08-22-08
                                         Reference                                         Charges :         Credits:'':

 08-20-08       Occupancy Tax             Routed From Franco Max Of Room #257                 10.89
 08-20-08       Parking-Self Overnight    Routed From Franco Max Of Room #257                  5.00
 08-20-08       Room-Group                Routed From Weinsten Ryan Of Room #260              99.00
 08-20-08       Occupancy Tax              Routed From Weinsten Ryan Of Room #260             10.89
 08-20-08       Room-Group                Routed From Aguiar Lauren Of Room #286             189.00
 08-20-08       Occupancy Tax             Routed From Aguiar Lauren Of Room 11286             20.79
 08-20-08       Room-Group                 Routed From Shorr Aaron Of Room #303               99.00
 08-20-08       Occupancy Tax              Routed From Shorr Aaron Of Room 1#303              10,89
 08-20-08       Room-Group                 Routed From Lybrand Steve Of Room #314             99.00
 08-20-08       Occupancy Tax              Routed From Lybrand Steve Of Room #314             10.89
 08-20-08       Room-Group                 Routed From Rogosa Diana Of Room #316              99.00
 08-20-08       Occupancy Tax              Routed From Rogosa Diana Of Room #316              10.89
 08-20-08       Room-Group                 Routed From Rinker Greg Of Room #317               99.00
 08-20-08       Occupancy Tax              Routed From Rinker Greg Of Room 1/317              10.89
 08-20-08       Room-Group                 Routed From Dozier Jason Of Room #327              99.00
 08-20-08       Occupancy Tax              Routed From Dozier Jason Of Room #327              10.89
 08-20-08       Room-Group                 Routed From Herrington Rob Of Room #328            99.00
 08-20-08       Occupancy Tax              Routed From Herrington Rob Of Room #328            10.89
 08-20-08       Room-Group                 Routed From Proof Michael Of Room #340             99.00
 08-20-08       Occupancy Tax              Routed From Proof Michael Of Room #340             10,89
 08-20-08       Room-Group                 Routed From Sloan Matt Of Room #343                99.00
 08-20-08       Occupancy Tax              Routed From Sloan Matt Of Room #343                10.89
 08-20-08       Room-Group                 Routed From Harden Susan Of Room #345              99.00
 08-20-08       Occupancy Tax              Routed From Harden Susan Of Room #345              10.89
 08-20-08       Room-Group                 Routed From Uslaner Jonathan Of Room               99,00
                                          #349
 08-20-08       Occupancy Tax              Routed From Uslaner Jonathan Of Room               10.89
                                          #349
 08-20-08       Room-Group                 Routed From Isomoto Becky Of Room #355             99.00
 08-20-08       Occupancy Tax              Routed From Isomoto Becky Of Room #355             10.89
 08-20-08       Room-Group                 Routed From Nolan Tom & Maryanne Of               159.00
                                          Room #433




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                          Exhibit 5 - Page 359
        Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 35 of 60 Page ID
                                          #:325331




                                                                                     Arrival date:       05-14-08
 MGA Entertainment                                                                   Departure date:     08-29-08
 16300 Roscoe Boulevard                                                              No. in party:      0/0
 Van Nuys, CA 91406                                                                  Room No.:           9001
                                                                                     Account No.:
                                                                                      BookiugNo.:
                                                                                     Page No.:              34 of 36

                                                                                      Invoke .:
  INFORMATION INVOICE                                                                                         08-22-08
 Date        Description                                                                   charges.           Credits

 08-20-08       Occupancy Tax              Routed From Nolan Tom & Maryanne Of                17.49
                                          Room #433
 08-21-08       Room Service              Line# 227: CFIFCK# 0044102 Holden Craig             24.78
                                          #227—>MGA Entertainment #9001
 08-21-08       Comm-Long Distance        11:10 00:01:00 Routed From MGA                       0.98
                                          Entertainment Of Room /15425
 08-21-08       Room-Early Departure      Routed From Proof Michael Of Room #340              50.00
 08-21-08       Comm-Long Distance        12:45 00:01;00 Routed From MGA                       0.98
                                          Entertainment Of Room #5425
 08-21-08       Banquet Invoice           40395                                              842.82
 08-21-08       Comm-Long Distance        14:57 00:01:00 Routed From MGA                       0.98
                                          Entertainment Of Room #5425
 08-21-08       Comm-Long Distance        15:49 00:04:00 Routed From MGA                         1,67
                                          Entertainment Of Room #5425
 08-21-08       Comm-Long Distance        16:27 00:01:00 Routed From MGA                       0.98
                                          Entertainment Of Room #5425
 08-21-08       Parking-Valet Overnight   Routed From Shore Aaron Of Room #303                10.00
 08-21-08       Parking-Valet Overnight   Routed From Isomoto Becky Of Room #355              10.00
 08-21-08       Parking-Valet Overnight   Routed From Harden Susan Of Room #345               10.00
 08-21-08       Room-Group                 Routed From Hammon Patrick Of Room #128            99.00
 08-21-08       Occupancy Tax              Routed From Hammon Patrick Of Room #128            10.89
 08-21-08       Room-Group                 Routed From Kennedy Raoul Of Room #158            189.00
 08-21-08       Occupancy Tax              Routed From Kennedy Raoul Of Room #158             20.79
 08-21-08       Room-Group                 Routed From Lopez Alex Of Room #176                99.00
 08-21-08       Occupancy Tax              Routed From Lopez Alex Of Room #176                10.89
 08-21-08       Room-Group                 Routed From Roth Carl Of Room #202                189.00
 08-21-08       Occupancy Tax              Routed From Roth Carl Of Room #202                 20.79
 08-21-08       Room-Group                 Routed From Turnipseed Alissa Of Room              99.00
                                          #230
 08-21-08       Occupancy Tax              Routed From Turnipseed Alissa Of Room              10.89
                                          #230
 08-21-08       Room-Group                 Routed From Feirman Jordan Of Room #233            99.00
 08-21-08       Occupancy Tax              Routed From Feirman Jordan Of Room #233            10.89




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                          Exhibit 5 - Page 360
            Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 36 of 60 Page ID
                                              #:325332




                                                                                         Arrival date:      05-14-08
     MGA Entertainment                                                                   Departure date:    08-29-08
     16300 Roscoe Boulevard                                                              No. in party:     0/0
     Van Nuys, CA 91406                                                                  Room No.:          9001
                                                                                         Account No.:
                                                                                         BookingNo.:
                                                                                         Page No.:             35 of 36

                                                                                          Invoice .:
     INFORMATION INVOICE                                                                                         08-22-08
 •     ••. .•
        .        ••         •
              - • . .......
                 •
                              •               Ji.eference.'                                    Charges           Credits

     08-21-08        Room-Group                 Routed From Franco Max Of Room #257               99.00
     08-21-08        Occupancy Tax              Routed From Franco Max Of Room #257               10.89
     08-21-08        Parking-Self Overnight     Routed From Franco Max Of Room #257                5.00
     08-21-08        Room-Group                 Routed From Aguiar Lauren Of Room #286           189.00
     08-21-08        Occupancy Tax              Routed From Aguiar Lauren Of Room #286            20,79
     08-21-08        Room-Group                 Routed From Shorr Aaron Of Room #303              99.00
     08-21-08        Occupancy Tax              Routed From Shorr Aaron Of Room #303              10.89
     08-21-08        Room-Group                 Routed From Lybrand Steve Of Room #314            99.00
     08-21-08        Occupancy Tax              Routed From Lybrand Steve Of Room #314            10.89
     08-21-08        Room-Group                 Routed From Rogosa Diana Of Room #316             99.00
     08-21-08        Occupancy Tax              Routed From Rogosa Diana Of Room #316             10.89
     08-21-08        Room-Group                 Routed From Rinker Greg Of Room #317              99.00
     08-21-08        Occupancy Tax              Routed From Rinker Greg Of Room #317              10.89
     08-21-08        Room-Group                 Routed From Harden Susan Of Room #345             99.00
     08-21-08        Occupancy Tax              Routed From Harden Susan Of Room #345             10.89
     08-21-08        Room-Group                 Routed From Isomoto Becky Of Room #355            99.00
     08-21-08        Occupancy Tax              Routed From Isomoto Becky Of Room #355            10.89
     08-21-08        Room-Group                 Routed From Nolan Tom & Maryanne Of              159.00
                                                Room #433
     08-21-08        Occupancy Tax              Routed From Nolan Tom & Maryanne Of               17.49
                                                Room #433




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                              Exhibit 5 - Page 361
         Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 37 of 60 Page ID
                                           #:325333




                                                                                                Arrival date:      05-14-08
 MGA Entertainment                                                                              Departure date:   08-29-08
 16300 Roscoe Boulevard                                                                         No. in party:     0/0
 Van Nuys, CA 91406                                                                             Room No.:         9001
                                                                                                Account No.:
                                                                                                BookingNo.:
                                                                                                Page No.:             36 of 36

                                                                                                 Invoice
  INFORMATION INVOICE                                                                                                   08-22-08
 Date             Description                                         tcleretcc             .         Charges           Credits

                                                                                  Total             68,108.87        60,000.00

                                                                                  Balance             8,108.87
    Cashier: 35


   I agree to be held personally liable in the event that
   the indicated person, company or association fails to pay all or
   part of these charges.

   Signature




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                     Exhibit 5 - Page 362
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 38 of 60 40,290
                                                                                     Page ID
                                       Mission     Inn
                                             #:325334
                                                                            Check#:
                                               A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/22/2008
                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                       Event Date:          8/8/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
EEO Name:      MGA Entertainment
Address:       16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                 Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
               Specialty Teas - 7:00AM
                                                                                                              Subtotal:                      50.00
                                                                                    Service Charge %:            18.00                        9.00
                                                                                                     Tax %:       7.75                        4.57
                                                                                                               Total:                       63.57


Quantity Miscellaneous                                                                             Price                                 Amount

           1   Mini Fridge Rental                                                    10.00 Day                                               10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                              Subtotal:                      25.00
                                                                                    Service Charge %:                 0.00                    0.00
                                                                                                     Tax %:           0.00                    0.00
                                                                                                               Total:                        25.00



               Room Rental                                                                         Price
    Room: Rotunda Conference Room A                        Function: OFFC                   150.00                                          150.00
    Room: Rotunda Conference Room B                        Function: OFFC                   100.00                                          100.00
    Room: Rotunda Conference Room C                        Function: OFFC                   100.00                                          100.00
    Room: Rotunda Conference Room D                        Function: OFFC                   100.00                                          100.00
    Room: Rotunda Conference Room E                        Function: OFFC                   100.00                                          100.00
    Room: Rotunda Conference Room F                        Function: OFFC                   150.00                                          150.00

                                                                                                              Subtotal:                     700.00
                                                                                  Room Rental Tax %:                  7.75                   54.25

                                                                                                               Total:                      754.25


                                                                                                          Grand Total:                     842.82

                                                                                                         Balance Due:                      842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 5 - Page 363
       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 39 of 60 40,291
                                                                                 Page ID
                                         #:325335    Mission Inn        Check#:
                                            A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                             3649 Mission Inn Avenue • Rkferside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/22/2008
                                              Estimated Banquet Check                                                 Arr: 5/14/2008 Cep: 8/30/2008

Account:    MGA Entertainment                                                       Event Date:          8/9/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
Address:    16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                 Amount

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
            Specialty Teas - 7:00AM
                                                                                                           Subtotal:                      50.00
                                                                                 Service Charge %:             18.00                       9.00
                                                                                                  Tax %:        7.75                       4.57
                                                                                                            Total:                        63.57


Quantity Miscellaneous                                                                          Price                                  Amount

       1    Mini Fridge Rental                                                    10.00 Day                                               10.00
       1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                           Subtotal:                      25.00
                                                                                 Service Charge %:                 0.00                    0.00
                                                                                                  Tax %:           0.00                    0.00
                                                                                                            Total:                        25.00



            Room Rental                                                                         Price                                  Amount
    Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00

                                                                                                           Subtotal:                     700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                            Total:                      754.25


                                                                                                       Grand Total:                      842.82

                                                                                                      Balance Due:                      842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 5 - Page 364
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 40 of 60 40,292
                                                                                     Page ID
                                             #:325336   Mission Inn         Check#:
                                               A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/22/2008
                                                                                                                         Arr: 5/14/2008 De p: 8/30/2008
                                                 Estimated Banquet Check
Account:       MGA Entertainment                                                       Event Date:          8/10/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Cram Holden
BEO Name:      MGA Entertainment
                                                                                       Phone:              (818) 221-4403
Address:       16300 Roscoe Boulevard
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                  Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                        50.00 Refresh                                          50.00
               Specialty Teas - 7:00AM
                                                                                                              Subtotal:                       50.00
                                                                                     Service Charge ° /0:         18.00                        9.00
                                                                                                Tax %:             7.75                        4.57
                                                                                                               Total:                        63.57


Quantity Miscellaneous                                                                             Price                                  Amount

           1   Mini Fridge Rental                                                     10.00 Day                                               10.00
           1   Phone Line with PolyCom Phone - RCR A                                  15.00 Day                                               15.00

                                                                                                              Subtotal:                       25.00
                                                                                     Service Charge %:                0.00                     0.00
                                                                                                Tax %:                0.00                     0.00
                                                                                                               Total:                         25.00




               Room Rental                                                                         Price                                  Amount

     Room:     Rotunda Conference Room A                    Function: OFFC                  150.00                                           150.00
     Room:     Rotunda Conference Room B                    Function: OFFC                  100.00                                           100.00
     Room:     Rotunda Conference Room C                    Function: OFFC                  100.00                                           100.00
     Room:     Rotunda Conference Room                      Function: OFFC                  100.00                                           100.00
     Room:     Rotunda Conference Room E                    Function: OFFC                  100.00                                           100.00
     Room:     Rotunda Conference Room F                    Function: OFFC                  150.00                                           150.00

                                                                                                              Subtotal:                      700.00
                                                                                   Room Rental Tax %:                 7.75                    54.25

                                                                                                                Total:                      754.25


                                                                                                          Grand Total:                      842.82

                                                                                                         Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 5 - Page 365
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 41 of 60 Page ID
                                             #:325337     Mission Inn       Check#: 40. 337
                                                A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                 3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/22/2008
                                                  Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                        Event Date:          8/10/2008
Post As:       MGA Entertainment
                                                                                        Contact:            Mr. Craig Hoiden
BE0 Name:      MGA Entertainment
                                                                                        Phone:              (818) 221-4403
Address:       16300 Roscoe Boulevard
                                                                                        Fax:
               Suite #150
                                                                                        On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                       Price                                 Amount

       18 CHEF'S SELECTION DINNER BUFFET                                              28.00 Per person                                      504.00

                                                                                                               Subtotal:                     504.00
                                                                                     Service Charge %:             18.00                     90.72
                                                                                                      Tax %:        7.75                     46.09
                                                                                                                Total:                      640.81


Quantity Beverage                                                                                   Price                                 Amount 1

           8   Assorted Soft and Diet Soft Drinks                                     3.75 Each                                               30.00
               Charged on Consumption
                                                                                                               Subtotal:                      30.00
                                                                                     Service Charge %:             18.00                       5.40
                                                                                                      Tax %:           7.75                    2.74
                                                                                                                Total:                        38.14



               Room Rental                                                                          Price                                  Amount

    Room: Monterey                                           Function: DIN
                                                                                                               Subtotal:                       0.00
                                                                                    Room Rental Tax %:                 7.75                    0.00

                                                                                                                Total:                         0.00

                                                                                                           Grand Total:                     678.95

                                                                                                          Balance Due:                      678.95




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                           Exhibit 5 - Page 366
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 42 of 60 Page ID
                                             #:325338   Mission Inn         Check#: 40,293
                                               A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/22/2008
                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                       Event Date:          8/11/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
Address:       16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                 Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
               Specialty Teas - 7:00AM
                                                                                                              Subtotal:                      50.00
                                                                                    Service Charge °10:           18.00                       9.00
                                                                                                     Tax %:        7.75                       4.57
                                                                                                               Total:                        63.57


Quantity Miscellaneous                                                                             Price                                  Amount

           1   Mini Fridge Rental                                                    10,00 Day                                               10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                              Subtotal:                      25.00
                                                                                    Service Charge %:                 0.00                    0.00
                                                                                               Tax %:                 0.00                    0.00
                                                                                                               Total:                        25.00



               Room Rental                                                                         Price                                  Amount 1

    Room:      Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00
    Room:      Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00

                                                                                                              Subtotal:                     700.00
                                                                                   Room Rental Tax %:                 7.75                   54.25

                                                                                                               Total:                       754.25


                                                                                                          Grand Total:                      842.82

                                                                                                         Balance Due:                      842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 5 - Page 367
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 43 of 60 40,338
                                                                                     Page ID
                                             #:325339   Mission Inn         Check#:
                                               A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/22/2008

                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                       Event Date:          8/11/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                 Amount!

       18 CHEF'S SELECTION DINNER BUFFET                                             28.00 Per person                                       504.00

                                                                                                              Subtotal:                     504.00
                                                                                    Service Charge %:             18.00                      90.72
                                                                                                     Tax %:           7.75                   46.09
                                                                                                               Total:                      640.81


Quantity Beverage                                                                                  Price                                  Amount

           6   Assorted Soft and Diet Soft Drinks                                     3.75 Each                                              22.50
               Charged on Consumption
                                                                                                              Subtotal:                      22.50
                                                                                     Service Charge %:            18.00                       4.05
                                                                                                Tax %:             7.75                       2.06

                                                                                                               Total:                        28.61



               Room Rental                                                                         Price                                  Amount

     Room: Monterey                                         Function: DIN
                                                                                                              Subtotal:                        0.00
                                                                                   Room Rental Tax %:                 7.75                    0.00

                                                                                                               Total:                         0.00


                                                                                                          Grand Total:                      669.42

                                                                                                         Balance Due:                       669.42




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 5 - Page 368
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 44 of 60 40,294
                                                                                     Page ID
                                             #:325340    Mission Inn        Check#:
                                               A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 764-0300 • Fax (951) 784-5525           Printed: 8/22/2008
                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                       Event Date:          8/12/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                 Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee                           50.00 Refresh                                           50.00

                                                                                                              Subtotal:                      50.00
                                                                                    Service Charge %:             18.00                       9.00
                                                                                                     Tax %:        7.75                       4.57
                                                                                                               Total:                        63.57


Quantity Miscellaneous                                                                             Price                                  Amount

           1   Mini Fridge Rental                                                    10.00 Day                                               10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                              Subtotal:                      25.00
                                                                                    Service Charge °A:                0.00                    0.00
                                                                                                Tax %:                0.00                    0.00
                                                                                                               Total:                        25.00



               Room Rental                                                                         Price                                  Amount

     Room:     Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
     Room:     Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
     Room:     Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00
     Room:     San Diego                                    Function: EXHB                  250.00                                          250.00

                                                                                                              Subtotal:                     950.00
                                                                                   Room Rental Tax %:                 7.75                   73.63

                                                                                                               Total:                     1,023.63


                                                                                                          Grand Total:                   1,112.20

                                                                                                         Balance Due:                    1,112.20




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 5 - Page 369
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 45 of 60 40,295
                                                                                     Page ID
                                             #:325341   Mission Inn         Check#:
                                               A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525          Printed: 8/22/2008
                                                 Estimated Banquet Check                                                 Am 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                       Event Date:          8/13/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BED Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




1 Quantity Food                                                                                    Price                                Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                         50.00
               Specialty Teas - 7:00AM
                                                                                                              Subtotal:                     50.00
                                                                                    Service Charge %:            18.00                      9.00
                                                                                               Tax %:             7.75                      4.57
                                                                                                               Total:                      63.57


Quantity Miscellaneous                                                                             Price                                Amount

           1   Mini Fridge Rental                                                    10.00 Day                                             10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                             15.00

                                                                                                              Subtotal:                     25.00
                                                                                    Service Charge %:                 0.00                   0.00
                                                                                                Tax %:                0.00                   0.00
                                                                                                               Total:                      25.00



               Room Rental                                                                         Price                                Amount

     Room:     Rotunda Conference Room A                    Function: OFFC                  150.00                                         150.00
     Room:     Rotunda Conference Room B                    Function: OFFC                  100.00                                         100.00
     Room:     Rotunda Conference Room C                    Function: OFFC                  100.00                                         100.00
     Room:     Rotunda Conference Room D                    Function: OFFC                  100.00                                         100.00
     Room:     Rotunda Conference Room E                    Function: OFFC                  100.00                                         100.00
     Room:     Rotunda Conference Room F                    Function: OFFC                  150.00                                         150.00

                                                                                                              Subtotal:                    700.00
                                                                                   Room Rental Tax %:                 7.75                  54.25

                                                                                                               Total:                     754.25


                                                                                                          Grand Total:                    842.82

                                                                                                         Balance Due:                     842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 5 - Page 370
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 46 of 60 Page ID
                                             #:325342    Mission Inn        Check#: 4Q340

                                               A National Historic Landmark Hotel & Spa                                           Page: 1 of 1
                                3649 Mission Inn Avenue • R iverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/22/2008
                                                  Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                        Event Date:          8/13/2008
Post As:      MGA Entertainment
                                                                                        Contact:            Mr. Craig Holden
BEO Name:     MGA Entertainment
                                                                                        Phone:              (818) 221-4403
Address:      16300 Roscoe Boulevard
                                                                                        Fax:
              Suite #150
                                                                                        On-Site:
              Van Nuys, CA 91406




Quantity Food                                                                                       Price                                 Amount

       25 CHEF'S SELECTION DINNER BUFFET                                              28.00 Per person                                      700.00

                                                                                                               Subtotal:                     700.00
                                                                                     Service Charge %:            18.00                     126.00
                                                                                                     Tax %:            7.75                  64.02
                                                                                                                Total:                      890.02


Quantity Beverage                                                                                   Price                                 Amount

       15     Assorted Soft and Diet Soft Drinks                                      3.75 Each                                               56.25
              Charged on Consumption
                                                                                                               Subtotal:                      56.25
                                                                                     Service Charge %:             18.00                      10.13
                                                                                                Tax %:              7.75                       5.14
                                                                                                                Total:                        71.52



              Room Rental                                                                           Price                                  Amount
    Room: Santa Barbara/Oriental Court                      Function: DIN

                                                                                                               Subtotal:                       0.00
                                                                                   Room Rental Tax %:                  7.75                    0.00

                                                                                                                Total:                         0.00


                                                                                                           Grand Total:                     961.54

                                                                                                          Balance Due:                      961.54




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                           Exhibit 5 - Page 371
       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 47 of 60 40,341
                                                                                 Page ID
                                  Mission     Inn
                                         #:325343                      Check#:
                                            A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/22/2008
                                                                                                                      Arr: 5/14/2008 Dep: 8/30/2008
                                              Estimated Banquet Check

Account:    MGA Entertainment                                                       Event Date:          8/14/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                  Amount

      18 CHEF'S SELECTION DINNER BUFFET                                           28.00 Per person                                       504.00

                                                                                                           Subtotal:                     504.00
                                                                                 Service Charge %:             18.00                      90.72
                                                                                                  Tax %:        7.75                      46.09

                                                                                                            Total:                      640.81


" Quantity Beverage                                                                             Price                                  Amount

      12    Assorted Soft and Diet Soft Drinks                                     3.75 Each                                              45.00
            Charged on Consumption
                                                                                                           Subtotal:                      45.00
                                                                                  Service Charge %:            18.00                       8.10
                                                                                             Tax %:                7.75                    4.12
                                                                                                            Total:                        57.22



            Room Rental                                                                         Price                                  Amount

    Room: Ho-O-Kan/Oriental Court                        Function: DIN
                                                                                                           Subtotal:                        0.00
                                                                                Room Rental Tax %:                 7.75                    0.00

                                                                                                             Total:                        0.00


                                                                                                       Grand Total:                      698.03


                                                                                                      Balance Due:                       698.03




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 5 - Page 372
       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 48 of 60 Page ID
                                         #:325344    Mission Inn        Check#: 40,297
                                            A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/22/2008

                                              Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008


Account:    MGA Entertainment                                                       Event Date:          8/15/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEG Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                 Amount

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
            Specialty Teas - 7:00AM
                                                                                                           Subtotal:                      50.00
                                                                                 Service Charge `Yo:           18.00                       9.00
                                                                                             Tax %:                7.75                    4.57
                                                                                                            Total:                        63.57


Quantity Miscellaneous                                                                          Price                                 Amount

       1    Mini Fridge Rental                                                    10.00 Day                                               10.00
       1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                           Subtotal:                      25.00
                                                                                 Service Charge %:                 0.00                    0.00
                                                                                            Tax %:                 0.00                    0.00

                                                                                                            Total:                        25.00



            Room Rental                                                                         Price                                  Amount
    Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00

                                                                                                           Subtotal:                     700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                            Total:                       754.25


                                                                                                       Grand Total:                      842.82

                                                                                                      Balance Due:                      842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 5 - Page 373
       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 49 of 60 Page ID
                                         #:325345    Mission Inn        Check#: 40,298
                                            A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/22/2008
                                               Estimated Banquet Check                                                Arr: 5/14/2008 Dep: 8/30/2008

Account:     MGA Entertainment                                                      Event Date:          8/16/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
Address:    16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                 Amount

       1    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
            Specialty Teas - 7:00AM
                                                                                                           Subtotal:                      50.00
                                                                                 Service Charge %:            18.00                        9.00
                                                                                            Tax %:             7.75                        4.57
                                                                                                            Total:                        63.57


Quantity Miscellaneous                                                                          Price                                 Amount

       1    Mini Fridge Rental                                                    10.00 Day                                               10.00
       1    Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                           Subtotal:                      25.00
                                                                                 Service Charge %:                 0.00                    0.00
                                                                                                  Tax %:           0.00                    0.00
                                                                                                            Total:                        25.00



            Room Rental                                                                         Price                                  Amount
    Room:   Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00
    Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00

                                                                                                           Subtotal:                     700.00
                                                                               Room Rental Tax %:                  7.75                   54.25

                                                                                                            Total:                      754.25


                                                                                                       Grand Total:                     842.82

                                                                                                      Balance Due:                      842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 5 - Page 374
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 50 of 60 Page ID
                                             #:325346   Mission Inn         Check#: 40,299
                                               A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                                3649 Mission #nn Avenue • Riverside, CA 92501 • (951) 764-0300 • Fax (951) 784-5525           Printed: 8/22/2008

                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 lie p: 8/30/2008

Account:       MGA Entertainment                                                       Event Date:          8/17/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
               16300 Roscoe Boulevard
                                                                                       Phone:              (818) 2214403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                   Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                            50.00
               Specialty Teas - 7:00AM
                                                                                                              Subtotal:                        50.00
                                                                                    Service Charge %:             18.00                        9.00
                                                                                               Tax %:              7.75                        4.57

                                                                                                               Total:                         63.57


Quantity Miscellaneous                                                                             Price                                   Amount

           1   Mini Fridge Rental                                                    10.00 Day                                                10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                                15.00

                                                                                                              Subtotal:                        25.00
                                                                                     Service Charge %:                0.00                      0.00
                                                                                                     Tax %:           0.00                      0.00

                                                                                                               Total:                         25.00



               Room Rental                                                                         Price                                   Amount
     Room:     Rotunda Conference Room A                    Function: OFFC                  150.00                                            150.00
     Room:     Rotunda Conference Room B                    Function: OFFC                  100.00                                            100.00
     Room:     Rotunda Conference Room C                    Function: OFFC                  100.00                                            100.00
     Room:     Rotunda Conference Room D                    Function: OFFC                  100.00                                            100.00
     Room:     Rotunda Conference Room E                    Function: OFFC                  100.00                                            100.00
     Room:     Rotunda Conference Room F                    Function: OFFC                  150.00                                            150.00

                                                                                                              Subtotal:                      700.00
                                                                                   Room Rental Tax %:                 7.75                     54.25

                                                                                                                Total:                       754.25


                                                                                                          Grand Total:                       842.82


                                                                                                         Balance Due:                        842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                           Exhibit 5 - Page 375
       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 51 of 60 40,459
                                                                                 Page ID
                                         #:325347  Mission inn         Check#:
                                                                                                                          Page: 1 of 1
                                         A National Historic Landmark Hotel & Spa
                          3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/22/2008
                                                                                                                   Arr: 5/14/2008 Dep: 8/30/2008
                                           Estimated Banquet Check

Account:   MGA Entertainment                                                     Event Date:          8/17/2008
Post As:   MGA Entertainment
                                                                                 Contact:            Mr. Craig Holden
BE0 Name: MGA Entertainment
                                                                                 Phone:              (818) 221-4403
Address:   16300 Roscoe Boulevard
                                                                                 Fax:
           Suite #150
                                                                                 On-Site:
           Van Nuys, CA 91406




           Room Rental                                                                       Price                                  Amount

    Room: San Gabriel                                 Function: MTG                   200.00                                          200.00

                                                                                                        Subtotal:                     200.00
                                                                             Room Rental Tax %:                 7.75                   15.50

                                                                                                         Total:                      215.50


                                                                                                    Grand Total:                      215.50

                                                                                                   Balance Due:                      215.50




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                     Exhibit 5 - Page 376
       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 52 of 60 Page ID
                                   Mission     Inn
                                         #:325348
                                                                        Check#: 40,404
                                           A National Historic Landmark Hotel & Spa                                        Page: 1 of 1
                            3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0600 • Fax (951) 784-5525           Printed: 8/22/2008
                                                                                                                     Arr: 5/14/2008 Dep: 8/30/2008
                                             Estimated Banquet Check
Account:   MGA Entertainment                                                       Event Date:          8/17/2008
Post As:   MGA Entertainment
                                                                                   Contact:            Mr. Craig Holden
BED Name: MGA Entertainment
                                                                                   Phone:               (818) 221-4403
Address:   16300 Roscoe Boulevard
                                                                                   Fax:
           Suite #150
                                                                                   On-Site:
           Van Nuys, CA 91406




Quantity Food                                                                                  Price                                 Amount

      18    CHEF'S SELECTION DINNER BUFFET                                       28.00 Per person                                      504.00

                                                                                                          Subtotal:                     504.00
                                                                                 Service Charge %:            18.00                      90.72
                                                                                            Tax %:             7.75                      46.09

                                                                                                           Total:                      640.81


Quantity Beverage                                                                              Price                                  Amount

       9   Assorted Soft and Diet Soft Drinks                                     3.75 Each                                              33.75
           Charged on Consumption
                                                                                                          Subtotal:                      33.75
                                                                                 Service Charge %:            18.00                       6.08
                                                                                            Tax %:             7.75                       3.09

                                                                                                           Total:                        42.92




           Room Rental
    Room: Ho-O-Kan/Oriental Court                       Function: DIN
                                                                                                          Subtotal:                        0.00
                                                                               Room Rental Tax %:                 7.75                    0.00

                                                                                                            Total:                        0.00


                                                                                                      Grand Total:                      683.73

                                                                                                     Balance Due:                       683.73




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                      Exhibit 5 - Page 377
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 53 of 60 40,300
                                                                                     Page ID
                                             #:325349    Mission Inn       Check#:
                                                                                                                                 Page: 1 of 1
                                               A National Historic Landmark Hotel & Spa
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/22/2008
                                                                                                                         Arr: 5/14/2008 De p: 8/30/2008
                                                 Estimated Banquet Check

Account:       MGA Entertainment                                                       Event Date:          8/18/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BED Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                            50.00
               Specialty Teas - 7:00AM
                                                                                                              Subtotal:                       50.00
                                                                                    Service Charge %:             18.00                        9.00
                                                                                                     Tax %:        7.75                        4.57
                                                                                                               Total:                        63.57


Quantity Miscellaneous                                                                             Price                                  Amount

           1   Mini Fridge Rental                                                    10.00 Day                                                10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                                15.00

                                                                                                              Subtotal:                       25.00
                                                                                     Service Charge %:                0.00                     0.00
                                                                                                     Tax %:           0.00                     0.00
                                                                                                               Total:                         25.00



               Room Rental                                                                         Price                                  Amount

     Room:     Rotunda Conference Room A                    Function: OFFC                  150.00                                           150.00
     Room:     Rotunda Conference Room B                    Function: OFFC                  100.00                                           100.00
     Room:     Rotunda Conference Room C                    Function: OFFC                  100.00                                           100.00
     Room:     Rotunda Conference Room D                    Function: OFFC                  100.00                                           100.00
     Room:     Rotunda Conference Room E                    Function: OFFC                  100.00                                           100.00
     Room:     Rotunda Conference Room F                    Function: OFFC                  150.00                                           150.00

                                                                                                               Subtotal:                     700.00
                                                                                   Room Rental Tax `Yo:               7.75                    54.25

                                                                                                                Total:                       754.25


                                                                                                          Grand Total:                      842.82


                                                                                                         Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 5 - Page 378
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 54 of 60 Page ID
                                             #:325350    Mission Inn        Check#: 40,405
                                                                                                                                 Page: 1 of 1
                                               A National Historic Landmark Hotel & Spa
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/22/2008
                                                                                                                         Arr: 5/14/2008 Dep: 8/30/2008
                                                 Estimated Banquet Check

Account:       MGA Entertainment                                                       Event Date:          8/18/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
               16300 Roscoe Boulevard
                                                                                       Phone:              (818) 221-4403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                 Amount

       18 CHEF'S SELECTION DINNER BUFFET                                             28.00 Per person                                       504.00

                                                                                                              Subtotal:                     504.00
                                                                                     Service Charge               18.00                      90,72
                                                                                                Tax %:             7.75                      46.09
                                                                                                               Total:                      640.81


Quantity Beverage                                                                                  Price                                  Amount

           6   Assorted Soft and Diet Soft Drinks                                     3.75 Each                                              22.50
               Charged on Consumption
                                                                                                              Subtotal:                      22.50
                                                                                     Service Charge %:            18.00                       4.05
                                                                                                     Tax %:        7.75                       2.06
                                                                                                               Total:                        28.61



               Room Rental                                                                         Price                                  Amount 1

     Room:     Ho-O-Kan/Oriental Court                      Function: DIN

                                                                                                               Subtotal:                       0.00
                                                                                   Room Rental Tax %:                 7.75                    0.00

                                                                                                                Total:                        0.00


                                                                                                          Grand Total:                      669.42


                                                                                                         Balance Due:                       669.42




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 5 - Page 379
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 55 of 60 Page ID
                                             #:325351    Mission Inn        Check#: 40,393
                                               A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/22/2008

                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008


Account:       MGA Entertainment                                                       Event Date:          8/19/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
               16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
Address:
                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                  Amount

           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
               Specialty Teas - 6:00AM
                                                                                                              Subtotal:                      50.00
                                                                                    Service Charge %:             18.00                       9.00
                                                                                               Tax %:              7.75                       4.57
                                                                                                               Total:                        63.57


Quantity Miscellaneous                                                                             Price                                  Amount

           1   Mini Fridge Rental                                                    10.00 Day                                               10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                              Subtotal:                      25.00
                                                                                     Service Charge %:                0.00                    0.00
                                                                                                     Tax %:           0.00                    0.00
                                                                                                               Total:                        25.00



               Room Rental                                                                         Price                                  Amount

    Room:      Rotunda Conference Room A                    Function: OFFC                  150.00                                          150.00
    Room:      Rotunda Conference Room B                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room C                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room D                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room E                    Function: OFFC                  100.00                                          100.00
    Room:      Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00

                                                                                                              Subtotal:                     700.00
                                                                                   Room Rental Tax %:                 7.75                   54.25

                                                                                                               Total:                       754.25


                                                                                                          Grand Total:                      842.82


                                                                                                         Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                          Exhibit 5 - Page 380
       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 56 of 60 Page ID
                                   Mission     Inn
                                         #:325352
                                                                        Check#: 40,406

                                          A National Historic Landmark Hotel & Spa                                         Page: 1 of 1
                           3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525           Printed: 8/22/2008
                                                                                                                    Arr: 5114/2008 Dep: 8/30/2008
                                             Estimated Banquet Check
Account:    MGA Entertainment                                                     Event Date:          8/19/2008
Post As:    MGA Entertainment
                                                                                  Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
            16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
Address:
                                                                                  Fax:
            Suite #150
                                                                                  On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                 Price                                 Amount

      18 CHEF'S SELECTION DINNER BUFFET                                         28.00 Per person                                      504.00

                                                                                                         Subtotal:                     504.00
                                                                               Service Charge %:             18.00                      90.72
                                                                                          Tax %:              7.75                      46.09
                                                                                                          Total:                      640.81



            Room Rental                                                                       Price                                  Amount 1
    Room: Oriental Court                               Function: DIN

                                                                                                         Subtotal:                       0.00
                                                                              Room Rental Tax %:                 7.75                    0.00

                                                                                                          Total:                         0.00


                                                                                                     Grand Total:                     640.81

                                                                                                    Balance Due:                      640.81




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                     Exhibit 5 - Page 381
       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 57 of 60 Page ID
                                         #:325353    Mission Inn        Check#: 40,394
                                            A National Historic Landmark Hotel & Spa                                          Page: 1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/22/2008
                                              Estimated Banquet Check                                                 Arr: 5/14/2008 De p: 8/30/2008

Account:     MGA Entertainment                                                      Event Date:          8/20/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BED Name:   MGA Entertainment
Address:    16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                    Fax:
            Suite #150
                                                                                    On-Site:
            Van Nuys, CA 91406




Quantity Food                                                                                   Price                                  Amount

       I    Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
            Specialty Teas - 6:00AM
                                                                                                           Subtotal:                       50.00
                                                                                 Service Charge %:            18.00                        9.00
                                                                                                  Tax %:       7.75                        4.57
                                                                                                            Total:                        63.57


Quantity Miscellaneous                                                                          Price                                  Amount
       1    Mini Fridge Rental                                                    10.00 Day                                               10.00
       1    Phone Line with PolyCom Phone RCR A                                   15.00 Day                                               15.00

                                                                                                           Subtotal:                       25.00
                                                                                 Service Charge %:                 0.00                    0.00
                                                                                                  Tax %:           0.00                    0.00
                                                                                                            Total:                        25.00



            Room Rental                                                                         Price                                  Amount
    Room:   Rotunda Conference Room A                    Function: OFFC                  150.00                                           150.00
    Room: Rotunda Conference Room B                      Function: OFFC                  100.00                                           100.00
    Room: Rotunda Conference Room C                      Function: OFFC                  100.00                                           100.00
    Room:   Rotunda Conference Room D                    Function: OFFC                  100.00                                           100.00
    Room:   Rotunda Conference Room E                    Function: OFFC                  100.00                                           100.00
    Room:   Rotunda Conference Room F                    Function: OFFC                  150.00                                           150.00

                                                                                                           Subtotal:                     700.00
                                                                                Room Rental Tax %:                 7.75                   54.25

                                                                                                            Total:                       754.25


                                                                                                       Grand Total:                      842.82

                                                                                                      Balance Due:                       842.82




CONFIDENTIAL - ATTORNEYS' EYES ONLY                                                                                       Exhibit 5 - Page 382
           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 58  of 60 40,407
                                                                                      Page ID
                                             #:325354 Mission Inn           Check#:
                                                                              Page: 1 of 1
                                            A National Historic Landmark Hotel & Spa
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/22/2008
                                              Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:       MGA Entertainment                                                    Event Date:          8/20/2008
Post As:      MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:     MGA Entertainment
              16300 Roscoe Boulevard                                                Phone:              (818) 221-4403
Address:
                                                                                    Fax:
              Suite #150
                                                                                    On-Site:
              Van Nuys, CA 91406




Quantity Food                                                                                   Price                                 Amount

       18 CHEF'S SELECTION DINNER BUFFET                                          28.00 Per person                                      504.00

                                                                                                           Subtotal:                     504.00
                                                                                 Service Charge %:            18.00                      90.72
                                                                                                  Tax %:       7.75                      46.09
                                                                                                            Total:                      640.81



              Room Rental                                                                       Price                                 Amount

    Room:     Monterey                                   Function: DIN
                                                                                                           Subtotal:                       0.00
                                                                               Room Rental Tax %:                  7.75                    0.00

                                                                                                            Total:                         0.00


                                                                                                       Grand Total:                     640.81

                                                                                                      Balance Due:                      640.81




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           Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 59 of 60 40.
                                                                                     Page
                                                                                        395 ID
                                             #:325355   Mission Inn         Check#:
                                                                              Page:
                                               A National Historic Landmark Hotel & Spa                                                 1 of 1
                                3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525            Printed: 8/22/2008
                                                 Estimated Banquet Check                                                 Arr: 5/14/2008 Dep: 8/30/2008

Account:        MGA Entertainment                                                      Event Date:          8/21/2008
Post As:       MGA Entertainment
                                                                                       Contact:            Mr. Craig Holden
BEO Name:      MGA Entertainment
Address:       16300 Roscoe Boulevard                                                  Phone:              (818) 221 4403-



                                                                                       Fax:
               Suite #150
                                                                                       On-Site:
               Van Nuys, CA 91406




Quantity Food                                                                                      Price                                 Amount
           1   Freshly Brewed Coffee, Decaffeinated Coffee and                       50.00 Refresh                                           50.00
               Specialty Teas - 6:00AM
                                                                                                              Subtotal:                      50.00
                                                                                    Service Charge %:            18.00                        9.00
                                                                                                    Tax %:        7.75                        4.57
                                                                                                               Total:                        63.57


Quantity Miscellaneous                                                                             Price                                 Amount
           1   Mini Fridge Rental                                                    10.00 Day                                               10.00
           1   Phone Line with PolyCom Phone - RCR A                                 15.00 Day                                               15.00

                                                                                                              Subtotal:                      25.00
                                                                                    Service Charge %:                 0.00                    0.00
                                                                                                     Tax %:           0.00                    0.00
                                                                                                               Total:                        25.00



               Room Rental                                                                         Price                                  Amount

    Room:      Rotunda Conference Room A                   Function: OFFC                   150.00                                          150.00
    Room:      Rotunda Conference Room B                   Function: OFFC                   100.00                                          100.00
    Room:      Rotunda Conference Room C                   Function: OFFC                   100.00                                          100.00
    Room:      Rotunda Conference Room D                   Function: OFFC                   100.00                                          100.00
    Room:      Rotunda Conference Room E                   Function: OFFC                   100.00                                          100.00
    Room:      Rotunda Conference Room F                    Function: OFFC                  150.00                                          150.00

                                                                                                              Subtotal:                     700.00
                                                                                  Room Rental Tax %:                  7.75                   54.25

                                                                                                               Total:                      754.25


                                                                                                          Grand Total:                     842.82

                                                                                                         Balance Due:                      842.82




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       Case 2:04-cv-09049-DOC-RNB Document 10684-5 Filed 07/11/11 Page 60 of 60 Page ID
                                         #:325356    Mission Inn        Check#: 40,408
                                                                          Page:
                                            A National Historic Landmark Hotel & Spa                                                    1 of 1
                             3649 Mission Inn Avenue • Riverside, CA 92501 • (951) 784-0300 • Fax (951) 784-5525               Printed: 8/22/2008

                                              Estimated Banquet Check                                                     Arr: 5/14/2008 Dep: 8/30/2008


Account:     MGA Entertainment                                                      Event Date:          8/21/2008
Post As:    MGA Entertainment
                                                                                    Contact:            Mr. Craig Holden
BEO Name:   MGA Entertainment
Address:    16300 Roscoe Boulevard                                                  Phone:              (818) 221-4403
                                                                                    Fax:
            Suite #150
            Van Nuys, CA 91406                                                      On-Site:




Quantity Food                                                                                   Price                                     Amount
      18    CHEF'S SELECTION DINNER BUFFET                                        28.00 Per person                                          504.00

                                                                                                           Subtotal:                         504.00
                                                                                 Service Charge %:            18.00                          90.72
                                                                                            Tax %:                 7.75                      46.09

                                                                                                            Total:                          640.81


Quantity Miscellaneous                                                                          Price                                     Amount
            Non Hosted Self & Valet Parking @ the Prevailing Rates 0.00                                                                        0.00

                                                                                                           Subtotal:                           0.00
                                                                                 Service Charge %:                 0.00                        0.00
                                                                                            Tax %:                 0.00                        0.00
                                                                                                            Total:                             0.00



            Room Rental                                                                         Price                                     Amount
    Room: Monterey                                      Function: DIN

                                                                                                           Subtotal:                           0.00
                                                                               Room Rental Tax %:                  7.75                        0.00
                                                                                                            Total:                             0.00

                                                                                                      Grand Total:                          640.81

                                                                                                     Balance Due:                           640.81




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